                   Case 01-01139-AMC    Doc 18922-6    Filed 06/13/08   Page 1 of 74


                                             EXHIBIT E

                       Bench Rulin2 from In re Loral Space & Communications Ltd.




DOCS_DE:   138088. i
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 2 of 74



                                                                         i
 1
 2   UNITED STATES BANUPTCY COURT
 3   SOUTHERN DISTRICT OF NEW YORK
 4                                           - -x
 5   In the Matter of
 6         LORA SPACE & COMMICATIONS                    03-41710 (RDD)
           LTD., et al.,                                03-41709 to
 7                                                      03-41728
                              Debtors.
 8                                           - -x
 9                                     July 25, 2005
                                       3:00 p.m.
10
                                       United States Custom House
11                                     One Bowling Green
                                       New York, New York 10004
12
13
14
                  CONFIDENTIAL TRASCRIPT
15
16
17 BENCH RULING in the Matter of Loral Space &
18 Communications Ltd. and Space Systems/Loral, Inc.
19
20
21
22 B E FOR E:
23 HON. ROBERT D. DRAIN,
24 U. S. Bankruptcy Judge.
25
     Case 01-01139-AMC    Doc 18922-6   Filed 06/13/08   Page 3 of 74



                                                                        2

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     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 4 of 74



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 1
 2   APPEARANCES                       continued
 3
 4
               LOWENSTEIN SANLER
 5
 6
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 7
 8
 9             CAROLYN S. SCHWARTZ
               UNITED STATES DEPARTMNT OF JUSTICE
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12             BY: PAMLA J. LUSTRIN, ESQ.,
                                              of Counsel
13
14
15   A L S 0       PRE S E N T:
16
     TONY CHRIST - Loral Stockholders Protective
17 Committee
18
19
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25

     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 5 of 74



                                                                       4

 1 LORA SPACE AN COMMICATIONS, LTD.
 2 P_R 0 C E E DIN G S:
 3                       THE COURT: Please be seated.
 4                       All right. First, in looking at the
 5 audience, I as sume there are people here who have
 6 not signed a confidentiality agreement with Loral;
 7 is that correct?
 8 Because of that and because of the
 9 fact that a small but important part of the record
10 was prepared under seal and a part of my ruling
11 relates to that part of the record, I'm going to go
12 a little bit out of order and give that part of my
13 ruling first. So, therefore, those of you who are
14 not bound by a confidentiality agreement with Loral
15 should leave now. That part of my ruling will only
16 last five or ten minutes, and then someone will
1 7 come back and get you for the bulk of my ruling.
18 So anyone who has not signed a confidentiality
19 agreement with Loral needs to leave the courtroom
20 now, and someone will come and get you.
21
22
23
24
25

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                          A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 6 of 74



                                                                       5

 1                            CONFIDENTIAL
 2                       THE ..COURT: All right, as I just
 3 noted, I'm going to address two parts of my ruling
 4 now somewhat out of order because of the need to
 5 keep them confidential, for Loral i s business
 6 reasons and for the benefit of the estates, and
 7 then go to the bulk of my opinion and call the
 8 audience back.
 9 As wi th all of my bench rulings, I
10 will review the transcript after it i S prepared and
11 reserve the right and discretion to correct it for
12 errors, and my own errors, and make sure the
13 citations are correct. The following constitutes a
14 part of my ruling on Loral i s request for
15 confirmation of its fourth amended joint plan, as
16 well as the motion by the equity committee for
17 leave to pursue fraudulent transfer litigation in
18 respect of the Orion notes or, more properly, the
19 guarantee of those notes issued by Ltd.
     PAGE 5 LINE 20 THROUGH PAGE 19 LINE 21
     AR FILED UNER SEAL
     PER JUGE DRAIN i S ORDER AT THE HEARING
22                       Okay, could someone let the folks
23 in? And that ends the sealed portion of the
24 transcript.
25

     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
      Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 7 of 74



                                                                        20
 1              LORA SPACE AN COMMICATIONS, LTD.
 2.                       THE CO'UT: All right. Let me
 3 continue with my ruling on the request by Ltd. and
 4 its subsidiary debtors for confirmation of their
 5 joint Chapter 11 plan.
 6 Based on my review of the plan and
 7 disclosure statement, several days of testimony,
 8 the briefs, and the exhibits, I find that the
 9 debtors have satisfied the requirements of Sections
10 1129 (a) and (b) of the Bankruptcy Code, and that
11 the plan should and will be confirmed.
12 I will discuss primarily those
13 sections or elements of Sections 1129 (a) and (b) as
14 to which objections were raised, but I should note,
15 before I get to those objections, that Loral has
16 satisfied all of its burdens under 1129 (a) ,
17 including in respect of feasibility under
18 Bankruptcy Code Section 1129 (a) (11) and best
19 interests under Bankruptcy Code 1129 (a) (7), which
20 were not objected to.
21 The primary objections to the plan
22 go to the plan i s proposed cramdown of the preferred
23 and common shareholder classes, who would recei ve
24 no recovery under the plan. In addition, there is
25 an objection as to whether the plan is in good
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                           A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 8 of 74



                                                                      21
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 fai-th, as required under Section 1129 (a) (3) of the
 3 Bankruptcy Code.
 4 Let me address the cramdown
 5 objections first. They hinge obviously on the
 6 assertion that Ltd., the parent and issuer of the
 7 preferred and common stock, is solvent, and that
 8 therefore the unsecured creditors of Ltd., and
 9 potentially creditors of the subsidiary debtors, as
10 well, are receiving more than full recovery on
11 their claims under the plan and thus that the plan
12 improperly deprives the shareholders of their
13 rightful recovery.
14 I conclude, based on my review of
15 the expert reports and testimony of the three
16 investment banking firms retained in the case, as
1 7 well as the tes timony of Mr. Schwartz and the
18 arguents and exhibits raised and introduced by the
19 informal Loral Stockholders Protective Committee,
20 or "LSPC," that in fact Ltd. is insolvent. Let me
21 sumarize those findings first, and then I will go
22 into some detail as to my reasons for them.
23 i base my conclusion primarily upon
24 my review of the analyses done by the three
25 experts: Greenhill, Jeffries and Chanin, retained
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                         A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 9 of 74



                                                                       22
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 respecti vely by, the. debtors", the credi tors i
 3 commi ttee, and the official equity committee.
 4 Those experts employed traditional and well
 5 recognized methodologies for valuing companies of
 6 this kind. Each expert considered a going concern
 7 valuation of Ltd. based on its two core business
 8 segments, as well as other miscellaneous assets.
 9 Each expert considered whether to apply a
10 discounted cash flow method, a comparable
11 transaction method, and a comparable companies
12 method, in placing a value on those assets together
13 as a going concern. The first segment, if you
14 will, of Ltd. i S value is SS/L. There, as a
15 midpoint, minus the EBITDA attributable to its
16 projection for government contracts, Chanin came to
17 a value of approximately $275 million, Jeffries
18 came to a value of approximately $202 million, and
19 Greenhill came to a value of approximately $97
20 million.
21 In considering what would be a
22 proper valuation of SS/L, I, of course, noted the
23 large difference between Greenhill and the other
24 two experts. That difference is largely
25 attributable to Greenhill i s method for ascertaining

    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 10 of 74



                                                                        23
 1             LORA SPACE AN COMMICATIONS, LTD.
 2, . theu terminal value on a DCF basis of SS/L. Unlike
 3 the other two investment bankers, Mr. Robins of
 4 Greenhill applied a perpetual growth methodology to
 5 determine that terminal value. The equi ty
 6 committee pointed out potential flaws with that
 7 choice, including its assertion that the percentage
 8 of 1 to 3 percent applied by Greenhill in that
 9 methodology was too low. Frankly, I don i t accept
10 that it was too low as a matter of gauging
11 inflation, given the last 25 years or so of
12 inflation trends introduced into evidence.
13 However, I did, in the end, rule out the Greenhill
14 valuation for SS/L, because, to me, it appeared to
15 be simply too low in comparison to the liquidation
16 value of the company, and everyone i s desire in this
17 case is to keep SS/L in business.
18 Instead I focused on the valuations
19 of SS/L prepared by Chanin and Jeffries. And
20 basically on my review of those two valuations and
21 the differences between them, I determined that a
22 reasonable value for SS/L was 230 million dollars.
23 The main difference between Chanin's and Jeffries i
24 valuation of SS/L stemed from the fact that
25 Chanin, like Greenhill, weighted it' s valuation one
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERITEXT COMPANY
         Case 01-01139-AMC                   Doc 18922-6   Filed 06/13/08   Page 11 of 74



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 1 LORA SPACE AN COMMICATIONS, LTD.
 2 hundred percent on .the discounted cash                                     flow
 3 methodology, whereas, Jeffries gave 30 percent of
 4 its weighting to a comparable companies
 5 methodology. All of the investment bankers, by the
 6 way, determined that there were no relevant
 7 comparable transactions upon which to do a
 8 valuation of SS/L, except for one that was somewhat
 9 dated and for which information was not
10 particularly reliable, the Hughes/Boeing
11 transaction.
12 Jeffries acknowledged that there was
13 no clear comparable company to SS/L¡ however, I
14 gave some weight to Mr. Derrough i s testimony that
15 based upon, first, the similarities between Orbital
16 Sciences and SS/L, as well as his own and one of
17 his colleague i s experience with Orbital Sciences,
18 its stock price could be used as a comparable
19         measure for determining SS/L i S value.                             Particularly
20 since, according to Mr. Derrough, he gave SS/L a
21 better multiple, notwithstanding Orbital Sciences'
22 more steady, or regular, government business as its
23         main source of revenue.                         I also discounted Chanin i s

24 evaluation of SS/L because so much of the value, in
25 fact all of the value for the company, was placed

          BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                               A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 12 of 74



                                                                       25
 1 LORA SPACE AN COMMICATIONS, LTD.
- 2 ,.on ..thefinal projected year, 2008, ..o determine the
 3 DCF terminal value. While I accept that the
 4 projections underlying the current going concern
 5 valuations of the debtors are reasonable, I note
 6 that it is only in that last year that there is
 7 posi ti ve EBITDA for SS/L. And given the
 8 uncertainties of the contracts in this business
 9 and, for want of a better word, the lumpiness of
10 its cash flow projections given the nature of that
11 business in which very substantial contracts
12 require very substantial outlays of expense, I
13 thought that the Chanin midpoint valuation should
14 be discounted accordingly.
15 The second segment, if you will, of
16 Ltd. for valuation purposes is the FSS business.
17 There, the three investment bankers i valuations
18 were much more comparable. Each investment banker
19 recognized that each of the three traditional
20 valuation methodologies could be applied. That is,
21 there were comparable transactions as well as
22 comparable companies with which to measure FSS i S
23 value, and, therefore, those two methodologies
24 could be added to a DCF valuation. The mid ranges
25 on FSS for Chanin, Greenhill and Jeffries were
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 13 of 74



                                                                       26
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 $A70 .6millionr$392 million, and $442.3 million
 3 respecti vely . The main difference among the
 4 investment bankers with regard to their valuations
 5 was the weighting of the three methodologies.
 6 Chanin placed considerably more weight on the DCF
 7 valuation, weighting the other two at 20 percent
 8 each, wi th a DCF weighting 60 percent. Greenhill i s
 9 valuation weighted each of the three methodologies
10 equally, and Jeffries had a slight preference for
11 the DCF valuation, going 30, 30 and 40 percent,
12 wi th 40 percent being accorded to its DCF
13 methodology .
14 I chose a valuation for FSS of $440
15 million, which is slightly over the average of all
16 three. It seemed to me that this was justified for
17 a couple of reasons. First, I did not accept
18 Chanin i s giving 60 percent of the weight to DCF,
19 which it did, according to Mr. Belinsky, to reflect
20 the growth in the business that is being projected.
21 It seemed to me that this was somewhat skewing the
22 value toward a more risky valuation. I did this
23 also noting that Chanin nevertheless had a somewhat
24 higher EBITDA multiple for its DCF valuation than
25 either of the other two bankers.

    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
       Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 14 of 74



                                                                          27

 1               LORA SPACE AN COMMICATIONS, LTD.
 2..                       There are two other elements of the
 3 valuation. The first is a projection of available
 4 cash at confirmation, and here there was roughly a
 5 70 million dollar swing between the experts. Tha t
 6 was largely attributable to the view of Mr.
 7 Derrough and his colleagues at Jeffries that, given
 8 the nature of SS/L' s business and its cash needs,
 9 it would need to retain a hundred million as
10 opposed to 50 million dollars of cash to be
11 comfortable about conducting that business. Chanin
12 projected $180 million of cash for SS/L and FSS and
13 other sources being available for creditors,
14 Jeffries $117 million, and Greenhill $190.35
15 million. I saw some merit in Jeffries i arguent
16 about SS/L i S cash needs, particularly given the
17 testimony about the lumpiness of SS/L' s cash flow,
18 and therefore I chose an exit cash figure of 150
19 million dollars.
20 The parties dropped into a basket
21 labeled "other assets" three main assets that they
22 ascribed -- or some of them ascribed -- value to:
23 Loral i s interest in XTAR, unused orbital slots, and
24 SS/L i S and other debtors i interests in real estate,
25 but primarily, if not exclusively, SS/L' s

       BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                            A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 15 of 74



                                                                        28
 1             LORA SPACE AN COMMICATIONS, LTD.
 2,., headquarters in Palo, Alto., California. The spread
 3 between the experts here was fairly large. Chanin
 4 projected $217 million dollars of value in the
 5 other assets category, Jeffries $114 million, and
 6 Greenhill $143 million. The main differences were
 7 primarily in respect of unused orbi tal slots, which
 8 Chanin valued at a midpoint range of $50 million
 9 dollars, as compared to Jeffries i $5 million, and
10 Greenhill 's $13 million.
11 Frankly, based upon Loral i s past
12 history of being unable to sell unused orbital
13 slots alone, as opposed to in connection with a
14 satelli te order, I was originally prepared to put
15 zero dollars weight on this asset. However,
16 Greenhill itself gives some value to them, and Mr.
17 Christ introduced some basis for ascribing value to
18 them, although indirectly connected to related
19 satelli te orders. I ascribed therefore 10 million
20 dollars value to them in the end.
21 As to the XTAR interest, the spread
22 is between $152 million, as valued by Chanin at its
23 mid point, $108 million by Jeffries, and $130
24 million by Greenhill. The main difference with
25 respect to the experts i valuation of this asset is
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 16 of 74



                                                                       29
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 . the. percentage that they applied to the weighted
 3 average cos t of capi tal used in their DCF
 4 valuation. Jeffries i low valuation of $108 million
 5 was attributable to a relatively high WACC, which
 6 is attributable, in turn, to its view that XTAR
 7 would likely be financed only through equity
 8 financing, and is still a risky and uncertain
 9 investment that has not fulfilled yet, or even come
10 close to, its projections or potential occupancy.
11 On the other hand Chanin chooses a WACC that treats
12 it much more like any other proven satellite asset
13 of FSS and financeable with debt. Greenhill is
14 closer to Chanin, but in the middle.
15 There was no particular reason given
16 for Chanin i s confidence in the XTAR asset, and its
17 criticism of Jeffries was misplaced, in that it
18 does appear that Jeffries revised its valuation
19 upwards once XTAR went into service. In light of,
20 however, the aggressiveness of Jeffries i discount,
21 I took Greenhill i s DCF numer and added to ita
22 little bit, but not much, and came up with a total
23 value of $135 million. Therefore, for the other
24 assets generally, I ascribed a value of 150
25 million. This leads to a total enterprise value of
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 17 of 74



                                                                        30
 1 LORA SPACE AN COMMICATIONS, LTD.
". 2970. million .dollars for Ltd. as a going concern..
 3 I i ve gi ven an explanation of how I
 4 got to most of those numers, but let me add a
 5 little bit more on points raised by the LSPC. It
 6 points out that Mr. Schwartz, and the LSPC are in
 7 agreement about one thing, which is the value of
 8 SS/L. In October of 2003, when the parties and the
 9 court were focused almost exclusively on the
10 proposed sale of Loral Skynet, or Loral i s North
11 American satellites, to Intelsat, Mr. Schwartz did
12 his own not much more than back of the envelope
13 valuation of the assets that would survive the
14 Intelsat transaction. He subsequently testified
15 that his valuation of SS/L, then and now, is
16 driven, in his mind, by a different methodology
17 than any of the three investment banker experts
18 recognized, which is by simply multiplying SS/L 's
19 revenue by a factor of one. And when pressed by
20 Mr. Christ, Mr. Schwartz acknowledged that he still
21 believes that SS/L could or should be worth roughly
22 one times revenue or something close to 450 to 500
23 million dollars.
24 By the way, Mr. Schwartz i s back of
25 the envelope pro forma valuation of Loral after the
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                          A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 18 of 74



                                                                       31
 1 LORA SPACE AN COMMICATIONS, LTD.
 2. In.tels.at sale_was approximately 1.48 billion
 3 dollars and included the type of valuation of SS/L
 4 that I just discussed. Mr. Robins, on behalf of
 5 Greenhill, pointed out that he disagreed with Mr.
 6 Schwartz i s revenue multiple valuation approach for
 7 SS/L, noting in particular that such an approach
 8 doesn i t make a lot of sense for SS/L, especially
 9 with its lumpy revenue projections, which are
10 driven by the type of project cash flow that it
11 tends to experience in connection with its
12 business. Mr. Schwartz acknowledges his difference
13 with the experts, and also acknowledges that, but
14 for the Boeing-Hughes transaction, there are really
15 no meaningful transaction comparables. Mr. Robins
16 also pointed out that there are or have been
17 significant changes in Loral since October of 2003.
18 Many of those would appear to be for the better ¡
19 however, in October of 2003, he testified FSS i S
20 projected EBITDA was considerably higher than it is
21 now, SS/L i S projected revenue was higher, and there
22 was a projection of a hundred million dollars value
23 for SatMex, which is currently in a bankruptcy case
24 here as well as in Mexico. But more importantly, I
25 conclude that Mr. Schwartz i s valuation, which the
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
                                Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 19 of 74



                                                                                                   32

                            1             LORA SPACE AN COMMICATIONS, LTD.
~. - 0-- .   .,~. -- ~ -   .2   _LSEC.uhas.__adopted, may be a legitimate valuation by
                            3    a businessman who has, throughout his career, taken
                            4    risks both for the good and the bad, but is not a
                            5    reliable measure of valuation for purposes of the
                            6    Section 1129 (b) valuation that I must conduct.
                            7                       The Federal Rules of Evidence permit
                            8    a lay person to give an opinion as to value when he
                            9    is the owner of the property, but instructs the
                           10    judge to give that valuation whatever weight he or
                           11    she thinks is appropriate. In this case, I relied
                           12   on the three experts for each of the contending
                           13   parties over Mr. Schwartz i s valuation.
                           14                       I also should address briefly the
                           15    so-called expert report prepared in draft form by
                           16   Jeffries in October of 2003, which was not used as
                           17   a basis for expert testimony in connection with the
                           18   Intelsat hearing or for any other expert testimony.
                           19   And according to Mr. Derrough i s tes timony, it was
                           20   not based on any sort of valuation conducted in any
                           21   meaningful way of the non-Intelsat assets. I
                           22   accept Mr. Derrough i s testimony, which included a
                           23   fairly credible reference to his learning at the
                           24   time, or shortly thereafter, of real concerns about
                           25   SS/L i s future, which, fortunately, since then have
                                BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                                     A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 20 of 74



                                                                        33
 1             LORA SPACE AN COMMICATIONS, LTD.
 2.. been alleviated .as a result of, among other things,
 3 the new satellite orders that I referred to
 4 earlier. That testimony leads me to accept Mr.
 5 Derrough i s assertion that this draft report was not
 6 a real valuation of a the non-Skynet assets or one
 7 that I should rely on.
 8 I have not discussed yet my reason
 9 for placing a low valuation on Loral i s real estate,
10 which again, is primarily SS/L i S Palo Alto
11 headquarters. While it may be the case that that
12 real estate is worth a considerable amount of money
13 on a liquidation basis, I don't see much of a
14 prospect of realizing any value from it as long as
15 SS/L remains an ongoing business. And as I said
16 earlier, I believe that my valuation of SS/L is
17 driven primarily by that assumption. I ascribed a
18 5 million dollar value to the real es ta te . And
19 frankly, even that I believe was generous, because
20 it was based solely on an assertion by Mr. Belinsky
21 that he had talked with a leveraged-leasing expert
22 who argued that a sale/leaseback of the real estate
23 was feasible, although I saw no real underpinnings
24 of that analysis. Chanin i s midpoint for the real
25 estate was $15 million; the other experts ascribed
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
        Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 21 of 74



                                                                           34

 1                  LORA SPACE AN COMMICATIONS, LTD.
 2 no       value   to it. And again, that valuation is on a
 3 going concern basis. As Mr. Dewitt very credibly
 4 testified, SS/L could not move out of its
 5 headquarters without seriously jeopardizing the
 6 performance of ongoing contracts because of the
 7 very special equipment that is maintained there.
 8 In addition, it is obviously a preferred location
 9 attractive to the very special and highly qualified
10 engineers and scientists and others that SS/L
11 employs in building satellites. One cannot assume
12 SS/L could maintain its business while selling and
13 moving its headquarters.
14 The equity committee and the LSPC
15 raised other sources of potential value without
16 ascribing any particular dollar amount to them.
17 These included patents and patent litigation,
18 potential new developments in technology, and
19 tangentially, potential new markets such as in
20 China and elsewhere. With regard to the patents, I
21 have already discussed that matter: Loral has not
22 been able to sell them, and although Chanin notes
23 that there has not been a formal investment banker
24 process for selling them, someone at Chanin also
25 noted that the one offer received, for roughly $300
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                             A VERITEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 22 of 74



                                                                        35
 1             LORA SPACE AN COMMICATIONS, LTD.
 2_ - thousand was at. arms, length. As far as the patent
 3 litigation is concerned, it appears to be a long
 4 shot to me, particularly given the nature of the
 5 patents at issue. But what I did not say generally
 6 about the patents is that the uncontroverted
 7 testimony appears to be that the patents are useful
 8 only for Loral i s technology and that its
 9 competi tors use their own developed designs and
10 patents, thus reducing the sale value of the
11 patents considerably.
12 As far as potential new technologies
13 and new markets are concerned, I believe that those
14 possibili ties, not being concrete enough to be
15 projected at this time, are not properly in the
16 valuations, except as they may appear in a
1 7 comparable company or precedent transaction
18 valuation, and that, beyond that measure, I cannot
19 give any particular dollar value to them, noting
20 that the experts have not either.
21 Mr. Christ raised one final point
22 which deserved careful consideration. It is that,
23 in his view of what SS/L i S expenses should be and
24 what they could be, the projected expenses for SS/L
25 that underlie the business plan are too high, in
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
              Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 23 of 74



                                                                                 36
   1 LORA SPACE AN COMMICATIONS, LTD.
 .2 his .view, byapproximateiy 20 million dollars.
   3 Obviously if that were the case, the valuation of
   4 SS/L would increase considerably, because that 20
   5 million dollars would go right to increasing SS/L i s
   6 EBITDA, which serves as the primary basis for each
   7 expert
             i s DCF valuation of SS/L. Mr. Dewitt

   8 provided some corroboration of that view for SS/L iS
   9 expenses in his testimony, in which he, as SS/L i s
10 president, said that in his view he thought SS/L iS
11 SG&A expense was approximately 21 million dollars.
12 However, he acknowledged that that figure did not
13 include any corporate allocation to SS/L and was
14 not otherwise a complete figure.
15 I i ve reviewed Debtors' Exhibit 24,
16 including Bates-stamped pages 050276 and 050282,
1 7 and it does appear to me that there are addi tional
18 categories of expenses that would not be included
19 in Mr. Dewitt
                  i s 21 million dollar numer. I also
20 note that the roughly 43 million dollars of SS/L
21 expenses in the projection was vetted by Greenhill,
22 Jeffries and Chanin in their due diligence on the
23 debtors' business plan, and I find it unlikely that
24 those parties would have overlooked or obfuscated
25 such a conspicuous discrepancy. Therefore I feel
              BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                   A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 24 of 74



                                                                        37

 1             LORA SPACE AN COMMICATIONS, LTD.
 2._ constrained. to accept that expense numer as the
 3 actual numer that should be in the proj ections ,
 4 and, therefore, do not adjust the core valuation of
 5 SS/L that I alluded to earlier.
 6 Based on a 970 million dollar
 7 enterprise value for Ltd., the debtors at the
 8 paren t company level are insol ven t, whether one
 9 applies a contract rate of interest or a Federal
10 judgement rate of interest to the unsecured claims.
11 Nevertheless, let me briefly address that issue,
12 because it has been addressed by the parties and is
13 one of the two additional factors that the equity
14 committee contends ultimately renders the debtors
15 insolvent.
16 Section 502 (b) (2) of the Bankruptcy
17 Code disallows claims for unmatured interest.
18 Notwithstanding that fact, the courts have long
19 recognized that where a debtor is solvent, it is
20 inequitable and improper for shareholders to
21 recover before the debtors i unsecured creditors
22 receive postpetition interest. To permit such a
23 recovery by shareholders would give them a windfall
24 at the expense of the unsecured creditors who have
25 had to wait through the course of the case to
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
                            Case 01-01139-AMC                     Doc 18922-6   Filed 06/13/08   Page 25 of 74



                                                                                                                 38

                       1                          LORA SPACE AN COMMICATIONS, LTD.
. -_,' - I   ~-~ ..    2.    receive their distributions. This" solvent dehor
                       3     rule" has two bases recognized by the courts. The
                       4     first is in Section 726 of the Bankruptcy Code,
                       5     which flows through Section 1129 (a) (7) i S best
                       6     interests test. Section 726 (a) (5) provides for
                       7     payment of postpetition interest at the "legal
                       8     rate" to unsecured creditors before recovery by the
                       9     debtor or its shareholders. In addition, the
                      10     courts have long recognized the right of unsecured
                      11     creditors to receive postpetition interest under
                      12     the fair and equi table rule as part of the cramdown
                      13     standard. The equity committee really does not
                      14     dispute that fact, but argues that, under the
                      15     circumstances as it' s fair and equitable that
                      16     unsecured creditors receive postpetition interest
                      17     at the Federal judgment rate
                      18     of 1.1 percent rather than at their contract rate.
                      19                                          The fair and equitable basis for
                      20    postpeti tion interest goes back at least to the
                      21     Supreme Court i s decision in Vans                          ton Bondholders
                      22     Protective Committee versus Green at 329 U. S. 156
                      23     (1946), although it reaches back to cases before
                      24     the turn of the century. That basis was referred
                      25     to by Congress in the legislative history in

                            BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                                 A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 26 of 74



                                                                       39
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 connection..with.its amendment of Section 1124 (3) of
 3 the Bankruptcy Code a few years ago, which further
 4 confirmed a fair and equitable basis for the
 5 solvent debtor rule. See 140 Congo Rec. H 10,768
 6 (October 4, 1994) ("Specifically, courts have held
 7 that where an estate is solvent, in order for a
 8 plan to be fair and equitable, unsecured and under
 9 secured creditors i claims must be paid in full,
10 including postpetition interest, before equity
11 holders may participate in any recovery. See, e. g.
12 Consolidated Rock Products Co. v. Dubois, 312 u. S.
13 510, 527, 61 S.Ct. 675, 685 (1941);
14 Debentureholders Protective Committee of
15 Continental Inv. Corp., 679 F.2d 264 (1st Cir.),
16 cert. denied, 459 u.S. 894 (1982) and cases cited
1 7 therein") .
18 In my view, given that fair and
19 equi table basis, and going back to the Vanston
20 Bondholders case, which expressly noted that "It is
21 manifest that the touchstone of each decision on
22 allowance of interest in bankruptcy, receivership
23 and reorganization has been a balance of equities
24 between creditor and creditor or between creditors
25 and the debtor," 329 u. S. at 165, the court has a
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                           A VERI   TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 27 of 74



                                                                       40

 1 LORA SPACE AN COMMICATIONS, LTD.
 2. large..amount o.f discretion in deciding what the
 3 appropriate rate of interest should be under a
 4 Chapter 11 plan for a solvent debtor. This is
 5 confirmed by the more recent cases dealing with the
 6 issue. When it decided the postpeti tion interest
 7 rate in a vacuum, as a declaratory judgement
 8 matter, in In re Dow-Corning Corporation 237 B .R.
 9 38 Bankruptcy Court Eastern District of Michigan,
10 1991, and considered only the right to postpeti tion
11 interest under 726 (a) (5), the court applied the
12 Federal judgment rate. However, later in that
13 case, when faced with a specific plan, both the
14 Bankruptcy Court and the District Court determined
15 that the contract rate was the appropriate rate of
16 interest. See In re Dow-Corning Corporation 244
17 B.R. 678 Bankruptcy Court Eastern District of
18 Michigan 1999, as well as the District Court
19 opinion in a different aspect of the postpeti tion
20 interest litigation in that case, which declined to
21 apply the default rate, but made it clear that it
22 was comfortable with the plain contract rate, which
23 appears at 2004 US District Lexis 27989 Eastern
24 District of Michigan 2002. Fairly recently Judge
25 Walrath in the In re Coram Healthcare Corporation

    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 28 of 74



                                                                       41
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 case at .315,B.R. 321, 346 Bankruptcy_Court District
 3 of Delaware 2004 also confirmed this rule when she
 4 said, "we are not persuaded that Section 1129 (b)
 5 requires the use of the Federal judgment rate for
 6 postpeti tion interest under a Chapter 11 plan of
 7 reorganization. Instead we conclude that the
 8 specific facts of each case will determine what
 9 rate of interest is fair and equitable." In that
10 case the creditors, in her view, unduly delayed the
11 case and otherwise engaged in conduct that she did
12 not believe was appropriate and, therefore, she
13 applied the lower rate. See also In re Anderson
14 Carter 220 B.R. 411 Bankruptcy District New Mexico,
15 1998. The highest level of contrary authority that
16 I could find, In re Cardalucci 285 F3d 1231 Ninth
17 Circui t 2002, relied exclusively on Section
18 726 (a) (5) and focused on intercreditor fairness,
19 not creditor/shareholder issues, which again, is
20 contrary to the basis for interest here, which is
21 the fair and equitable rule. So, therefore, I
22 believe that if it were important, postpetition
23 interest here should be awarded at the contract
24 rate, the non-default contract rate. I note,
25 further, that in the so-called waterfall recovery

    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 29 of 74



                                                                       42

 1 LORA SPACE AN COMMICATIONS, LTD.
 2 analyses of both ,Jeffries and Chanin, the term
 3 "contract rate" is somewhat of a misnomer, in that
 4 a 6 percent rate is given for the SS/L debt, which,
 5 in fact, was not a contract rate but rather a
 6 compromise rate agreed upon by the SS/L creditors
 7 and the other unsecured creditors. According to
 8 the SS/L creditors, the rate they were entitled to
 9 was much higher than 6 percent, which is a fair
10 compromise rate here.
11 Again, at a 970 million dollar
12 enterprise valuation, I believe that the second
13 issue raised by the equity committee as a basis for
14 the shareholders being entitled to a recovery here
15 also is moot. That is, even if Ltd. i S guarantee of
16 the Orion bonds issued in Decemer of 2001 were
17 avoided, I believe that at a 970 million dollar
18 valuation, there would be little to no recovery by
19 the shareholders, and there would be no recovery
20 assuming postpeti tion interest at the contract
21 rate, and, if my math is right, no recovery at the
22 Federal judgment rate either, although just barely.
23 But again, let me address this
24 arguent in more detail, particularly since the
25 equity committee has made a separate motion for

    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
           Case 01-01139-AMC                Doc 18922-6   Filed 06/13/08   Page 30 of 74



                                                                                           43
  1 LORA SPACE AN COMMICATIONS, LTD.
 .2_... leave.                to      bring litigation avoiding the 2001 Ltd.
  3 guarantee of the Orion bonds as a fraudulent
  4 transfer under Section 544 of the Bankruptcy Code,
  5 incorporating applicable state fraudulent transfer
  6 law.
  7 The first question to ask,
  8 obviously, in this area is does the equity
  9 commi ttee have standing to bring a fraudulent
10 transfer claim? Clearly it does not unless in the
11 exercise of the bankruptcy court
                                                                    i s discretionary
12 authori ty, it is granted standing to do so on
13 behalf of Ltd. i S estate. As recognized by the
14 Second Circuit, although not all circuits, official
15 committees, at least official creditors i
16 committees, as well as in some instances individual
17 credi tors, can be granted standing to pursue debtor
18 causes of action if, after review by the court,
19 they have shown that the debtor has unjustifiably
20 refused to bring the action. See generally In re
21 STN Enterprises 779 F2d 901, 904 Second Circuit
22 1985, as well as In re Housecraft Industries, USA,
23 Inc., 310 F3d 64, 71 Second Circuit 2002, which
24 noted that individual creditors might also receive
25 standing, and further noted that the standard for
            BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                 A VERI  TEXT COMPANY
         Case 01-01139-AMC              Doc 18922-6   Filed 06/13/08    Page 31 of 74



                                                                                        44
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 .. granting s tanding was bas..cally met if three
 3 factors are satisfied. First, there needs to be a
 4 colorable claim that would provide for a recovery.
 5 Second, it needs to be shown that the action is
 6 likely to benefit the debtor
                                                          i s estate. And, third,
 7 that granting standing is in the best interests of
 8 the estate. See also In re America
                                                                       i s Hobby Center,
 9 Inc., 223 B.R. 275 282 Bankruptcy Court Southern
10 District New York 1998.
11 At least as regard to the two latter
12 determinations, the court should reach its
13 conclusions after holding an evidentiary hearing.
14 See STN, 779 F2d at 905.
15 As stated by the STN court, the
16 bankruptcy court "should assure itself that there
17 is a sufficient likelihood of success to justify
18 the anticipated delay and expense to the bankruptcy
19 estate that the continuation of litigation is
20 likely to produce." Id. at 906. Here I considered
21 both the merits of litigation, and had the
22 advantage of hearing a significant amount of
23 evidence on that issue, as well as the benefits of
24 the litigation to the estate and whether its
25 pursui t is in the best interest of the estate.
          BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                               A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 32 of 74



                                                                        45
 1             LORA SPACE AN COMMICATIONS, LTD.
 2   ".                  Before turning to those issues, I
 3 should address a second-tier standing issue that
 4 has been raised by the debtor, the creditors i
 5 commi ttee, and the relevant indenture trustee,
 6 which is the standing of an equity committee to
 7 bring fraudulent transfer litigation on behalf of
 8 the estate, as opposed to creditors. Here there is
 9 apparently a direct conflict in the case law
10 between a bankruptcy court on the one hand, and a
11 district court on the other. In In re Revco DS
12 Inc., 118 B.R. 468 at 475 Bankruptcy Court in the
13 Northern District of Ohio 1990, the court refused
14 to give the shareholders standing to pursue
15 fraudulent transfer claims, taking the view that
16 fraudulent transfer recoveries are only for the
17 benefi t of creditors, not for shareholders. And
18 that is in contrast with 9281 Shore Road Owners
19 Corporation versus Seminole Realty Company 187 B.R.
20 837 851 Eastern District New York 1995, in which
21 the court noted the difference between the fact
22 that outside of bankruptcy only creditors can bring
23 fraudulent transfer litigation and its view that in
24 bankruptcy fraudulent transfer litigation can be
25 brought for the benefit of all parties, including
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 33 of 74



                                                                       46

 1 LORA SPACE AN COMMICATIONS, LTD.
. .2 shareholders, because it i S brought on behalf of the
 3 estate as opposed to creditors. That view, in my
 4 mind, comports wi th the plain language of Section
 5 550 of the Code which refers to recoveries from
 6 avoidance litigation, including litigation under
 7 Section 544, as being for the benefit of the
 8 estate, and since recoveries here are generally
 9 fungible, given that the secured debt was paid off
10 long ago, I believe that, in this situation, the
11 equity committee would have standing or would not
12 be barred from pursuing a cause of action if I
13 permi tted it to do so, because it was an equity
14 committee as opposed to a creditors i committee.
15 There may be situations where that conclusion would
16 be changed by the equities of the case, but here,
17 where the committee is representing largely public
18 shareholders, the committee, if given standing,
19 would not be prevented from pursuing a claim, I
20 believe, because of its s ta tus as an equi ty
21 committee.
22 That however, does not answer the
23 question, because, based on my evaluation of the
24 meri ts, and my weighing of the benefits to the
25 estate as against the potential harm to the estate
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
          Case 01-01139-AMC                Doc 18922-6   Filed 06/13/08   Page 34 of 74



                                                                                          47

 1 LORA SPACE AN COMMICATIONS, LTD.
 2 of bringing the ,litigation., I conclude that. the
 3 litigation would not be in the estate
                                                                          i s best
 4 interests and the committee i s motion should be
 5 denied. The only valuation prepared in connection
 6 with the proposed challenge to the 2001 exchange
 7 offer and the guarantee given by Ltd. in connection
 8 therewi th was prepared by Mr. Robins at Greenhill.
 9 He based it on the debtors i projections at the
10 time, which Mr. Townsend, who was very involved
11 with those projections at the time, testified were
12 reasonable and achievable based on historic trends
13 of EBITDA and revenue, and which Mr. Robins,
14 perhaps not with the care with which he
15 professionally vetted the current projections, but
16 nevertheless professionally, vetted in discussions
1 7 wi th management, by looking at the companies i
18 projections and performance, and by reviewing
19 analysts i reports. In particular, Mr. Townsend
20 testified that notwithstanding 27 percent growth of
21 EBITDA between 2000 and 2001 for Orion, Orion and
22 Loral projected 15 percent growth for EBITDA in
23 2001 to 2002, going down to 11 percent in the next
24 year, and generally flattening out thereafter. He
25 testified that he as the companies i chief financial

          BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                               A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 35 of 74



                                                                       48

 1 LORA SPACE AN COMMICATIONS, LTD.
.2. .officerhad .no concern regarding the ability of
 3 Orion to make its debt payments after the exchange
 4 offer, which were substantially reduced; and he
 5 also did not have any concern also that Ltd. could
 6 not pay its debts when due.
 7 Based on the company i s projections,
 8 Mr. Robins did a DCF analysis of Orion which showed
 9 it to be quite solvent. And he similarly did an
10 analysis of Ltd. which also showed it to be solvent
11 on an enterprise basis as of the time of the
12 exchange offer. Based on Mr. Robins i analysis,
13 Orion was solvent by 111 million to 328 million
14 dollars on a going concern basis with $217 million
15 of solvency as the mid point. Based on the DCF
16 analysis, Ltd. was solvent between 530 and a
17 billion 40 million dollars, which was also
18 considerably below the market capitalization at the
19 time of the exchange offer. Mr. Townsend had also
20 testified as to the benefits of the exchange offer.
21 And he testified the guarantee by Ltd. was a
22 necessary and integral part of that exchange. He
23 noted that Orion, before the exchange offer, was
24 facing the fact that in the next year it would have
25 to pay a considerable amount of interest that it
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
          Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 36 of 74



                                                                             49
  1 LORA SPACE AN COMMICATIONS, LTD.
.2 previouslyhad been. paying in kind, and although
  3 the company believed it had measures to ensure the
  4 payment of Orion i s debts, there was considerable
  5 uncertainty about being able to meet them given
  6 their increase in 2002.
  7 In addi tion, a default on the
  8 pre-exchange Orion debt would trigger cross
  9 acceleration provisions in the bank debt that was
10 secured by Loral 's satellite assets, and therefore
11 trigger the acceleration of over 500 million
12 dollars of secured bank debt. Moreover, the
13 exchange offer cannot be viewed in a vacuum, it was
14 part of an integrated strategy of delevering Loral,
15 which included extending the maturity of bank debt
16 which was coming due in respect of 535 million
17 dollars in 2002. Because of the exchange offer,
18 again of which the Ltd. guarantee was an integral
19 part, the next day that bank debt was extended to a
20 new date coterminous with the Orion bonds. In
21 addition, following the completion of the exchange
22 offer, Orion's debt was reduced by approximately
23 230 million dollars, and its annual interest burden
24 was reduced by approximately 39 million dollars.
25 These changes not only benefited
           BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                A VERI  TEXT COMPANY
           Case 01-01139-AMC     Doc 18922-6   Filed 06/13/08   Page 37 of 74



                                                                                50
 1                        LORA SPACE AN COMMICATIONS, LTD.
 2 ,Or-ion, but also.              Ltd.. As Mr. .Townsend testified,
 3 al though obviously Ltd. itself, before the issuance
 4 of the guarantee, was not legally obligated for
 5 Orion
                        i s debt, that fact was "interesting but not
 6 persuasive" to lenders and the rating agencies who
 7 viewed the enterprise on a consolidated business,
 8 noting that their businesses were interrelated, not
 9 only by the cross-acceleration and default
10 provisions I alluded to earlier, but also by the
11 fact that, as a business matter, they were
12 interrelated.
13 It appears that the exchange offer,
14 including the Ltd. guarantee of the new Orion
15 bonds, was discussed over many months and at length
16         by both Orion i s board and Ltd. 's board.                Those
17 discussions as memorialized in the minutes
18 introduced into evidence, contain two somewhat
19 troubling remarks by Mr. Schwartz that pertain to
20         my evaluation of the transaction.                First, and I
21 believe this was in a July 2001 meeting, he noted
22 some competition and a general downturn in the
23 satelli te business, as well as some softening, at
24 least in the data business, at Orion. However, it
25 appears that Orion i s primary business continued to
           BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                A VERI  TEXT COMPANY
     Case 01-01139-AMC    Doc 18922-6   Filed 06/13/08   Page 38 of 74



                                                                         51
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 meet o.r,come close . to meeting its projections for
 3 2001, absent the data business, which was
 4 transferred out of Orion in connection with the
 5    exchange offer.       The equity committee has also made
 6 or tried to make much of a reference to a solvency
 7 discussion found in the board minutes; however, I
 8 do not believe that the reference to a solvency
 9 discussion at all indicates anything more than a
10 reasonable question raised by the board, which any
11 board should raise with regard to a transaction of
12    this nature.       It appears to have been addressed by
13 a discussion led by the treasurer, who was
14 primarily focused on how to pay ongoing
15 obligations, as well as by counsel.
16 There was not much inquiry by ei ther
1 7 party, by the equity committee or the company in
18 the trial, with regard to whether Orion was
19 adequately capitalized after the exchange offer.
20 However, in the light of particular concerns that
21 were raised by the LSPC, I find as follows: First,
22 having purchased its satellites that underlay the
23 projections before the exchange offer, Orion did
24 not have significant projected capital expense
25   obligations.        Second, it was aware of the so-called

     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
           Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 39 of 74



                                                                              52
 1 LORA SPACE AN COMMICATIONS, LTD.
-.2 .. " solar      array   problem" with. regard to some or all of
 3 its sa telli tes; however, there is no showing that
 4 that problem was not already factored into the
 5 projections. And based on my review of the 10 (k) s,
 6 I believe it was factored into them. Addi tionally,
 7 I believe that the lack of a complete range of
 8 transponders for Telstar 12 was also factored into
 9 the projections. And finally I believe that the
10 problem with Telstar 11 having one year less life
11 than anticipated, arose after the exchange offer
12 and was not reasonably anticipated at the time.
13 Given all the foregoing, it appears to me that
14 Orion did not have material capital expenditures
15 and therefore was not inadequately capitalized at
16 the time of the exchange offer.
1 7 I i ve been focusing on the time of
18 the exchange offer and particularly immediately
19 after the exchange offer and Ltd. i S issuance of the
20 guarantee, because that is the time that one must
21 consider solvency in connection with a fraudulent
22 transfer claim. In particular, one should be
23 careful not to be caught up in hindsight in
24 conducting a solvency analysis, although it is
25 appropriate to do some comparison between

           BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 40 of 74



                                                                       53
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 projections..and-actual results to see if the
 3 projections were unreasonable. See generally In re
 4 RM Inc. 92 F3d 139, 155 Third Circuit 1996 and
 5 Lippe versus Bairnco, 249 F.Supp. 2d 357 380
 6 S.D.N.Y. 2003.
 7 Here it seems to me, al though we did
 8 not have a full trial on the fraudulent transfer
 9 issue, that Mr. Robins i valuation was quite
10 credible and that it would be difficult for the
11 equity committee to overcome it. In trying to meet
12 its burden in respect to the STN factors, the
13 commi ttee offered up Mr. Belinsky i s critique of Mr.
14 Robins i 2001 analysis; however, that critique was
15 flawed in a numer of respects. First, the
16 critique merely involved applying a 33 percent
17 discount to EBITDA, as used by Mr. Robins, and
18 otherwise followed his valuation to the letter.
19 Mr. Belinsky adopted the 33 percent discount
20 approach to the proj ections upon which Mr. Robins'
21 2001 valuation was based because he believed that
22 such proj ections were highly flawed.
23 Mr. Belinsky did not do his own due
24 diligence on the projections however, but relied
25 only on two things: one, his recollection or
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                         A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 41 of 74



                                                                       54

1 LORA SPACE AN COMMICATIONS, LTD.
2 _. someone at Chanin's. recollection that Mr. Townsend
3 had told them during their due diligence that the
4 company was very aggressive in its projections at
5 the time and historically before then. Mr.
6 Townsend i s testimony before me, however, did not go
7 nearly that far in reference to the projections
8 ei ther on direct or cross, as noted above. In
9 addi tion, Mr. Belinsky compared the Novemer 2001
10 projections versus actual results for 2001, 2002
11 and 2003. However, this comparison, as well as his
12 33 percent methodology was itself flawed in two
13 respects. First of all, he applied his 33 percent
14 discount not only to the projected numers, but
15 also to Orion i s actual EBITDA for 2001, minus the
16 negative EBITDA for the data business. This
17 discounting of an actual numer resulted in a
18 significant understatement of Orion i s value. The
19 equity committee tried to overcome this flaw at
20 oral arguent by suggesting that the actual numer
21 was only a projection and therefore should be
22 appropriately discounted as a projection, which
23 logically didn i t make sense, but even if one were
24 to take that approach, one should have then taken
25 the original proj ection, which was considerably

    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 42 of 74



                                                                        55
 1             LORA SPACE AN COMMICATIONS, LTD.
, .2... higher than the .105 million dollar actual amount
 3 that Mr. Belinsky applied a 33 percent discount to.
 4 In addi tion , in showing variations
 5 from projected performance, Mr. Belinsky added in
 6 the data business, which had a 20 million dollar
 7 negative EBITDA in 2001, whereas the data business
 8 was actually transferred out of Orion as part of
 9 the exchange offer. Finally, even the actual
10 versus projected variances for the key measures of
11 EBITDA and revenue as shown on Committee Exhibit
12 45, were lower than 33 percent for 2001 and 2002.
13 Given all the foregoing, I do not
14 accept that a 33 percent automatic discount of the
15 projections, let alone any discount as against
16 actual 2001 EBITDA, was reasonable; moreover, it
1 7 does appear to me that there is a logical
18 explanation for why Ltd. and Orion i s performance
19 sharply declined in mid 2002, which is, as
20 testified to by the business people for Loral, the
21 severe downturn in the industry and the lack of
22 orders for satellites. Therefore, again, while I
23 accept that it may be appropriate to compare
24 projections at the time of the allegedly fraudulent
25 transfer with actual results to see if those
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                            A VERI   TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 43 of 74



                                                                       56
 1 LORA SPACE AN COMMICATIONS, LTD.
.2 proj.ections were unreasonable and therefore that
 3 the actual value was much lower as of the time of
 4 the transfer than the value based on the
 5 projections, I believe that it was here an
 6 intervening and uncontemplated set of events that
 7 lead to the ultimate failure of the business plan
 8 and Loral i s going into bankruptcy.
 9 Because Orion appears to have been
10 solvent, I believe it was proper for all the
11 parties, including Chanin, not to double count the
12 Ltd. guarantee, that is to treat it as one
13 liabili ty on a consolidated basis. See In re
14 Xonics, 841 F2d 198 Seventh Circuit 1998.
15 I should also note that what is at
16 issue here is a "downstream" guarantee, which
17 tradi tionally is viewed as immune to fraudulent
18 transfer attack because of the parent i s interest in
19 its subsidiary. There is a recognized exception to
20 that rule, although the cases applying it are very
21 few. And they are basically In re Rodriguez 895
22 F2d 725 11th Circuit 1990 and Commerce Bank of
23 Kansas City versus Achtenberg 1993 US District
24 Lexis 16136 District Court Western District of
25 Missouri 1993. Both of those cases point out that
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 44 of 74



                                                                       57

1 LORA SPACE AN COMMICATIONS, LTD.
2 where.a,. sub$idiary .is insolvent or c1.arly
3 insolvent at the time, the parent's incurrence of
4 an obligation, or a transfer by it on behalf of a
5 subsidiary does not confer any direct benefit on
 6 the parent, and therefore, could be a fraudulent
7 transfer. However, in both of those cases, the
8 insolvency of the subsidiary was stipulated.
 9 That I s clearly not the case here.
10 In addition, there appears to have
11 been both direct and indirect value afforded to the
12 parent, Ltd., as a result of and in conjunction
13 with its granting of the guarantee. The direct
14 value is the value to its equity in Orion -- a 229
15 million dollar debt reduction and annual interest
16 expense reduced by a $39 million annually. The
17 indirect benefit, which is well recognized under
18 the case law, including in the Second Circuit, see
19 HBE Leasing Company versus Frank 48 F3d 623 638
20 Second Circuit 1995, was also considerable. I I ve
21 already discussed that the facts that the markets
22 and the rating agencies and lenders viewed Loral on
23 a consolidated basis, and the cross-defaults and
24 cross-acceleration provisions and the related bank
25 loan extension transaction that occurred a day
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                           A VERI   TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 45 of 74



                                                                       58
 1 LORA SPACE AN COMMICATIONS, LTD.
 2. after ,the exchange .offer and Ltd..' s guarantee all
 3 meant that the exchange offer and guarantee
 4 provided considerable value and indirect benefit to
 5 Ltd., which in my mind clearly exceeded the
 6 nega ti ve impact of the Ltd. guarantee at the time.
 7 Because of the unusual nature of a "downstream"
 8 guarantee being the subject of a fraudulent
 9 transfer attack, I gave little weight to the
10 arguent by the equity committee that the absence
11 of a contemporaneous solvency opinion is a bad fact
12 here. Mr. Belinsky acknowledged that his firm, to
13 his knowledge, had never rendered a downstream
14 guarantee solvency opinion, and he had never seen
15 one.
16 I do not give much weight either to
1 7 the other so-called indicia of insolvency that Mr.
18 Belinsky referred to in his testimony. I note
19 that, again, Chanin i s views are not backed up by
20 any sort of written work product or any market
21 value or going concern enterprise analyses of Ltd.
22 or Orion in the relevant time range. Instead, in
23 addi tion to pointing to Orion i s post 2001
24 performance versus its projections, Mr. Belinsky
25 pointed to book value indicia that were indeed
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
           Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 46 of 74



                                                                                   59
  1 LORA SPACE AN COMMICATIONS, LTD.
  2. concededly negative, including the write-off, for
  3 GAA purposes, of approximately 500 million dollars
  4 to comply with a new accounting standard applied
  5 industry-wide in 2002, and a history since well
  6 before the exchange offer of negative book income.
  7 Nei ther of those facts appear to have resulted in
  8 any reduced interest by customers in doing business
  9 wi th Loral or reduced borrowing prospects, which is
10 not surprising, given that they had very little
11 bearing on the company
                          i s actual ability to pay
12            their debts when they come due.           Those factors as
13 well as the book accounting "liquidity" factors
14 referred to in his exhibit, Mr. Belinsky
15 acknowledged, had never appeared in a solvency
16 opinion that he or his firm had written, and
1 7 wouldn i t appear in a solvency opinion if one were
18           to be prepared in connection with this matter.                   It
19 wasn i t clear to me, theref ore, how they would
20 "inform the opinion," as he testified, except as
21 some sort of nebulous confirmation of whatever else
22 the opinion contained.
23                             Of similar relevance, or
24 irrelevance, is the trading value of Orion i sand
25 Ltd. i s debt and equity securities before and after
            BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                 A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 47 of 74



                                                                        60

 1             LORA SPACE AN COMMICATIONS, LTD.
 2 the ,exchange. offers. In my 3iew, the negative
 3 trading value before the exchange, the spike in the
 4 trading value of the bonds after the exchange and
 5 the subsequent decrease in the trading value in the
 6 sumer of 2002 is not particularly telling,
 7 particularly given the fact that prices lowered in
 8 2002 after a revised forecast by Ltd. in light of
 9 its realization that satellite orders were not
10 coming in as they had previously been expected.
11 Similarly, the very positive market cap on the
12 equi ty securities is not particularly telling,
13 ei ther . Al though it i s often taken as gospel that
14 market pricing levels of debt and equity trading
15 are indicia of value, the very fact that people are
16 in the market to make substantial profits suggests
17 that, on a trading basis, those trading values are
18 not to be particularly relied upon, at least for
19 short term valuations. And Mr. Belinsky
20 acknowledged as much by noting that, again, at most
21 such information would be informative of or
22 colorable to a solvency opinion if he were to
23 render one.
24 All things considered then, although
25 there wasn't obviously a full trial on the issue of
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
          Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 48 of 74



                                                                             61

  1 LORA SPACE AN COMMICATIONS, LTD.
.2 solvency, or of.            fair consideration or reasonably
  3 equi val          en t value, it i s clear to me that the equi ty
  4 commi ttee would have a very difficult row to hoe if
  5 it were to pursue this litigation. I note that
  6 even if I were somewhat off in my 2005 valuation,
  7 it would also be pursuing litigation largely for
  8 the benefi t of the unsecured credi tors, who very
  9 much do not want it to be pursued. Therefore, even
10 if the equity committee would have standing,
11 notwi thstanding it being an equity committee, I
12 can i t ignore the fact that based on my $970 million
13 valuation of Ltd. in 2005, or as of June 30, 2005,
14 most, if not all, the recovery would go to the
15 benefi t of the unsecureds.
16 In addition to the unsecureds not
17 wanting the litigation to be pursued, as I said at
18 the beginning of this opinion in the portion of it
19 which is under seal, the company has given very
20 good reasons why the pursuit of litigation and the
21 delay of Ltd. i S emergence from Chapter 11 would be
22 a real determent to the debtors i business. And
23 consequently I believe that the pursuit of the
24 li tigation is not in the best interest of the
25 estate and creditors and does not meet a

           BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                A VERI  TEXT COMPANY
            Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 49 of 74



                                                                               62

   1 LORA SPACE AN COMMICATIONS, LTD.
".2 cost/benefit analysis, as required by STN and its _
   3 progeny. Therefore I will deny the motion by the
   4 equity committee for leave to have standing to
   5 pursue the fraudulent transfer litigation.
   6 I do that without additionally
   7 considering factors going to the cost of
   8 litigation, which would not only include out of
   9 pocket costs, but also the additional postpetition
10 interest that would accrue during the time the
11 litigation was pursued. The equity committee has
12 not quantified those costs, nor have the debtors,
13 but I believe they would both be quite significant.
14 And given, again, the unlikelihood of the
15 shareholders seeing any benefit from a recovery,
16 even if they were to obtain a settlement or some
17 victory on the merits, those costs would just eat
18 in to the gap further.
19 Let me then address the final
20 objection made by the shareholders to confirmation
21 of the plan, which is the allegation that i s long
22 been made in this case, that there has been some
23 form of unholy bargain between the debtors i
24 management and the creditors i committee or the
25 chairman of the creditors
                                              i committee. Mr. Schwartz

            BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                 A VERI  TEXT COMPANY
            Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 50 of 74



                                                                               63

   1 LORA SPACE AN COMMICATIONS, LTD.
_.2 was, really the             only witness on this point, and he
   3 testified that he has basically been involved in
   4 all of the substantive negotiations in this case,
   5 or kept very closely apprised of them when they
   6 were done by financial advisers or lawyers in the
   7 first instance. He stated that he negotiated the
   8 basic terms of the stock options granted to certain
   9 memers of management, although not to Mr. Schwartz
10 himself, in July of 2004, including the strike
11 price at an estimated midpoint valuation of 700
12 million for the debtors.
13 It is my belief, based on the
14 formulation of the plan as originally filed in
15 connection with the creditors i committee
16 negotiations, that the negotiation of the New
17 Skynet notes did not occur until substantially
18 thereafter. A major element, if not the only
19 element of the "unholy bargain" arguent is
20 premised upon a presumed linkage between the New
21 Skynet notes and the management contracts and stock
22 options. But the timing doesn i t seem to work. In
23 fact, the New Skynet notes were still being
24 negotiated up until shortly before the commencement
25 of this hearing.
            BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                 A VERITEXT COMPANY
            Case 01-01139-AMC                      Doc 18922-6   Filed 06/13/08   Page 51 of 74


                                                                                                  64

 1 LORA SPACE AN COMMICATIONS, LTD.
 2.". In.                                             addition, Mr. Schwartz testified
 3 that the management contracts and the stock option
 4 package, in his view, (a), closely followed the
 5 form of those agreements that are in existence
 6 today as far as the management contracts are
 7 concerned, and, (b), were comparable to, and
 8 necessary to compete against, similar packages of
 9 executive compensation offered by the company
                                                                                             is

10 competitors and necessary to retain key employees.
11 There was no real rebuttal of those points. It 's
12 obvious to me that the stock option grant is
13 generous given my valuation finding. However, I
14 note the following: first, it does not kick in
15 immediately but spreads out in 25 percent segments,
16 therefore in effect binding key employees to the
1 7 debtor over time. Secondly, largely at my
18 instigation, the Key Employee Retention Plan
19 originally proposed by these debtors has not been
20 revised as far as the senior management is
21 concerned. I took Mr. Schwartz i s testimony as to
22 the need for these contracts and stock options, in
23 part to be to fulfill, the commitment, which had
24 not heretofore been fulfilled, to retain key
25 employees. And in effect management has been

            BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                                 A VERI  TEXT COMPANY
    Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 52 of 74


                                                                       65

 1 LORA SPACE AN COMMICATIONS, LTD.
 2 waiting fox. this for about a year and a half.
 3 So in that sense, while normally one
 4 would see stock options tied to the future
 5 apprecia tion of the company i s value after emergence
 6 from Chapter 11 and thereafter, I view the stock
 7 option program here as part of fulfilling an
 8 unfulfilled promise to the employees for sticking
 9 around during the case.
10 I certainly unders tand the LSPC i s
11 dislike of such compensation, particularly the
12 stock options, given the treatment that
13 shareholders are recei ving under the plan; however,
14 as a technical legal matter, I believe that
15 management is receiving this compensation here not
16 because they are shareholders but because they are
1 7 managers. And I note that they are receiving it
18 wi th the agreement or lack of obj ection by the
19 future owners of the company, its unsecured
20 creditors, who I do not believe received any
21 improper quid pro quo for that agreement, but,
22 rather, had reached the view that they were willing
23 to have such compensation be paid to management
24 because they wanted that management in there
25 working for Loral and believed it was necessary to
    BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                         A VERI  TEXT COMPANY
          Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 53 of 74



                                                                             66

   1 LORA SPACE AN COMMICATIONS, LTD.
   2 - keep_them.. .

   3 I note that given the renegotiation
   4 of the plan in light of the settlement with the
   5 SS/L creditors, the creditors as a whole had the
   6 opportuni ty, if they wanted to, to renegotiate the
   7 management arrangements, and they chose not to do
   8 so. Again in my view that means that they are
   9 doing it for their own business purposes and not
10 for any other sort of quid pro quo. As far as the
11 New Skynet Notes are concerned, there is very
12 li ttle, if any, testimony by Chanin as to whether
13 and why, particularly as revised, they were still
14 clearly not at market as alleged by Chanin. And
15 while it is clear that the interest rate was not in
16 and of itself negotiated, the terms of the notes,
17 including the basket for other secured debt and
18 other features that took it into the high yield
19 range, occurred before the confirmation hearing
20 began. In any event, it is appears to me that to
21 the extent that those notes are not market priced,
22 and we will see if that i s the case or not when
23 they
               i re issued, because there is really very little

24 evidence in the record to show whether they i re at
25 or over the market price, it appears to me that the
          BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                               A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 54 of 74


                                                                        67

 1 LORA SPACE AN COMMICATIONS, LTD.
 2 ,difference in the grand scheme of things, in the
 3 overall valuation of these companies is not
 4 ma terial .
 5 So, based on that analyses and there
 6 being no other allegation of any other sort of an
 7 unholy bargain, other than some amiguous language,
 8 in my view, in the disclosure statement pertaining
 9 to the revision of the debtors' business plan after
10 discussion with the creditors i committee, I find
11 that the plan meets the good faith requirement
12 under Section 1129 (a) (3) of the Bankruptcy Code and
13 therefore should be confirmed.
14 So, Mr. Karotkin, to continue, I
15 don't know if I i ve seen a proposed confirmation
16 order.
17                       MR. KAOTKIN: No, sir.
18                       THE COURT: You should circulate
19 one.
20                       MR. KAOTKIN: Yes, sir. We didn 't
21 want to be presumptuous.
22                       THE COURT: And as I recall from
23 your remarks at the start of the trial, you had
24 resolved the other plan objections except for some
25 language you were still working out with the U. S .
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
         Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 55 of 74


                                                                            68

 1 LORA SPACE AN COMMICATIONS, LTD.
 2.Trus.tee, and         th creditors i committee.
 3                           MR. KAOTKIN: Yes. Actually as to
 4 the U. S. Trustee, we had resolved that language and
 5 I believe that was reflected on the record and we
 6 had also resolved the language as to the creditors i
 7 commi t tee on the record I jus t wanted to point out
 8 as to the objection filed by the ERISA plaintiffs.
 9                           THE COURT: Yes.
10                           MR. KAOTKIN: Wha t we have agreed
11 is that that objection will be addressed as part of
12 the claims resolution process and we have agreed
13 that it will be withdrawn as an objection to
14 confirmation without any prejudice to any of their
15 rights, and we have no problem with that.
16                           THE COURT: So what does that mean
17 wi th regard to Section 510, that language? Is that
18 still open for arguent?
19                           MR. KAOTKIN: Yes. Tha t won't
20 impact the abili ty to go effecti ve or not go
21 effective.
22                           THE COURT: Is that correct, Mr.
23 Etkin?
24                           MR. ETKIN: Yes, your Honor. All
25 issues as to classification and subordination are

          BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                               A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 56 of 74


                                                                        69
 1 LORA SPACE AN COMMICATIONS, LTD.
 2 reserved for the claims resolution process.
 3                       THE COURT: All right.
 4                       MR. KAOTKIN: So we i II be happy to
 5 circula te a revised order to each of the
 6 committees, we'll hopefully get that out tonight.
 7                       THE COURT: Okay very well thank
 8 you.
 9                       MR. GOLDEN: Your Honor
10                       MR. KAOTKIN: The only other matter
11 I guess, your Honor, is the order that you entered
12 permitting the complaint to be filed.
13                       THE COURT: Well, that I think by
14 its terms is of no effect at this point except that
15 it reserves an issue, in effect, on appeal.
16                       MR. KAOTKIN: Tha t's fine. Thank
17 you, sir.
18                       THE COURT: So once the order is
19 en tered, the parties can go and argue in the
20 District Court about what that means.
21                       MR. KAOTKIN:        Very well.        Thank
22   you, your Honor.
23                       THE COURT:     Okay.
24                       MR. WOLFSON:      Your Honor.
25                       THE COURT:      I guess you owe me two
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 57 of 74



                                                                        70
 1 LORA SPACE AN COMMICATIONS, LTD.
 2. orders then.
 3                       MR. KAOTKIN: Yes, sir.
 4                       THE COURT: Okay.
 5                       MR. GOLDEN: Your Honor, I'm sorry.
 6 I don i t mean to prolong this, but I i m looking at
 7 the order that Mr. Karotkin referred to, and the
 8 ordered paragraph in question is that the court 's
 9 denial of the motion to prosecute may result in the
10 immediate dismissal of the complaint. When we
11 talked about it that day, I think you left open the
12 possibility that you would rule on the automatic
13 dismissal.
14                       THE COURT: Well, someone is going
15 to have to ask me for a stay, otherwise it will be
16 dismissed.
17                       MR. GOLDEN: So absent a stay, the
18 complaint -- by virtue of the denial of the motion,
19 the complaint will be dismissed.
20                       THE COURT: Right.
21                       MR. GOLDEN: Thank you.
22                       THE COURT: But that's subject to
23 the equity committee's request for a stay.
24                       MR. GOLDEN: I understand. Thank
25 you for your time and patience.
     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                            A VERI   TEXT COMPANY
      Case 01-01139-AMC   Doc 18922-6   Filed 06/13/08   Page 58 of 74



                                                                         71
 1              LORA SPACE AN COMMICATIONS, LTD.
 2.                       ,THE COURT: All right. Thank you.
 3                        MR. WOLFSON: Thank you, your Honor.
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      BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                           A VERI  TEXT COMPANY
     Case 01-01139-AMC   Doc 18922-6    Filed 06/13/08   Page 59 of 74


                                                                         72
 1
 2                       CERTIFICATE
 3    STATE OF NEW YORK l
                                  l       ss. :
 4    COUNTY OF WESTCHESTER l
 5                       I, Denise Nowak, a Shorthand
 6            Reporter and Notary Public wi thin and for
 7            the State of New York, do hereby certify:
 8                       Tha t I reported the proceedings in
 9            the wi thin entitled matter, and that the
10            wi thin transcript is a true record of such
11            proceedings.
12                       I further certify that I am not
13            rela ted, by blood or marriage, to any of
14            the parties in this matter and that I am
15            in no way interested in the outcome of
16            this matter.
17                         IN WITNESS WHEREOF, I have
18            hereunto set my hand this                         day of
19                                     , 2005.
20
21
                                        DENISE NOWAK
22
23
24
25

     BENJAMIN REPORTING (212) 374-1138 DOYLE REPORTING (212) 867-8220
                          A VERI  TEXT COMPANY
Case 01-01139-AMC                   Doc 18922-6       Filed 06/13/08                  Page 60 of 74



              A            advantage 44:22             apparently           45:9 28:1929:2433:17
abilty 48:259: 11          advisers 63:6               appeal       69:15 33:25
    68:20                  afforded 57: 11             appear 29: 18 31: 18 ascribing 28: 17
able 34:22 49:5            agencies.50:6 57:22             35:1636:1755:17 - 34:16
absence 58: 10             aggressive 54:4                 59:7,17 aspect                       40:19
absent 51:370:17           aggressiveness              appeared 23: 14 assertion 21:6 23:7
acceleration 49:9,11           29:20                       59:15 33:5,20
accept 23:925:3            ago 39:3 46: 10             appears 35:3,7 asset 28:15,2529:12
    26: 17 32:22 33:4      agreed 42:6 68: 1 0             40:2350:13,25 29:16
    37:255:14,23               68:12                       51:1252:1356:9 assets               22:8,12 27:21
accorded 26: 12            agreement 4:6,14,19             57:1066:20,25 27:2128:529:24
accounting 59:4,13             30:765:18,21            applicable 43:5 30: 13 32:21 33:6
accrue      62:10          agreements 64:5             applied      23:4,8 25:20 49:10
achievable 47: 12          AKIN2:12                       29:240:11 41:13 assume                4:5 34:11
Achtenberg 56:23           all:6                           54:13 55:3 59:4 assuming               42:20
acknowledged 24: 12        allegation 62:21            applies 37:9 assumption 33: 17
    30:2036:1258:12            67:6                    apply 22:9 40:21 assure 44: 16
    59:1560:20             alleged 66: 14              applying       53:16 attack             56:18 58:9
acknowledges 31: 12        allegedly 55:24                 56:20 Attorneys 2:5,13,20
    31:13                  alleviated 33:2             appreciation 65:5 attractive 34:9
action     43:18,20 44:5   allocation 36: 13           apprised 63:5 attributable 22:15
    46:12                  allowance 39:22             approach         31:6,7 22:2527:629:5,6
actual     37:3 53:2       alluded 37:550:10              53:2054:24 audience                     4:5 5:8

    54:10,15,17,20         Alto 28:233:10              appropriate 32: 11 authority 41: 15
    55:2,9,16,2556:3       ambiguous 67:7               40:3,1541:12 43:12
  59:11                    amended 5:15                   52:2555:23 automatic 55:14
add 30:4                   amendment 39:2              appropriately 54:22 70:12
added 25:2429:21           American 30: 11             approximately available 27:3,13
    55:5                   Americas 2:22                  22:17,18,1931:2 Avenue                 2:6,14,22
addition 20:2434:8         America's 44:8                 36:2,11 49:22,24 average 26: 15 29:3
    38:949:7,21 54:9       amount 33:1234:16              59:3 avoidance 46:6
    55:457:1058:23          40:2 44:22 48:25           area 43:8 avoided 42: 17
    61:1664:2               55:2                       argue 69:19 avoiding 43:2
additional 36: 17          analyses     21:24 42:2     argued
                                                            33:22 awarded    41:23
   37:13 62:9                  58:21 67:5              argues 38:14 aware 51:25
additionally 52:6          analysis 33:24 48:8         argument         27:15 - u___~___
   62:6                       48:10,12,1652:24            42:2454:2058:10 -. ---~-
address 5:321:4               53:1462:2                   63:1968:18 b 1:22 20:10,13 64:7
   32:1437:11 42:23        analysts 47: 19             arguments            21:18 back4:17 5:8 30:12
   45:362:19               Anderson 41: 13             arms 35:2 30:24 38:20,23
addressed 37: 12           ANDREW          2:16        arose52:11 39:19
   51:1268:11              annual      49:23 57: 15    arrangements 66:7 backed 58:19
adequately 51: 19          annually 57:16              array 52:2 bad 32:4 58: 11
adjust 37:4                answer 46:22                ARTHUR  2:24 Bairnco 53:5
adopted 32:253:19          anticipated 44: 18          ascertaining 22:25 balance 39:23
                              52:11,12                 ascribed 27:22,22 bank49:9,12,15,19

              BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                 A VERITEXT COMPANY
Case 01-01139-AMC                       Doc 18922-6        Filed 06/13/08                    Page 61 of 74

                                                                                                                                        2

        56:22 57:24                 35:13 41:12,22          Bowling 1: 11                                   40:13,2041:2,8,10
banker       25:     18 30:17       42:12,1746:10,20 briefly 32:1437:11                                     41:1145:946:16
 34:23                              50:21 51:852:6,7  briefs 20:8                                           57:9,1862:2263:4
bankers i.3:3 24:5.                 52:956:5,1061:23 .bring 43:2,9,2045:7                                   65:966:22
 25: 1726:4,25                      62:13 65:14,20      45:22                                             cases 38:2339:16
banking 21: 16                      68:5                    bringing 47:2                                     40:5 56:20,25 57:7
bankruptcy 1 :2,24              believed 49:3 53:21         brought 45:25 46:2                            cash 22: 10 24:2
  20:10,18,1921:3                   65:25                   BRUCE 2:9                                         25:1027:4,8,10,12
    31:2337:1638:4              believes 30:21              building 34: 11                                   27:16,17,1831:10
    39:3,2240:9,14,17           Belinsky 26: 19             bulk      4:   17 5:7                        categories 36: 18
    41:2,1443:4,11                  33:2053:19,23           burden         49:23 53:12                   category 28:5
    44:9,16,1845:10                 54:955:3,558:12         burdens 20: 16                               caught 52:23
    45:12,22,2456:8                 58:18,2459:14           business 5:522:7                             cause 46: 12
    67:12                           60:19                    23:1724:2225:8                              causes 43: 18
barely 42:22                    Belinsky's 53:13             25:11,1626:20                               Center 44:8
bargain 62:2363:19              bench 1:17 5:9               27:8,1131:12                                century 38:24
 67:7                           benefi 5:644:6               33:1534:1235:25                             cert 39: 16
barred       46:12                  45:17,2546:757:5             36:23 50:7,11,23                        certain 63: 8
base 21 :23                         57:1758:461:8,15             50:24,25 51:3                           certainly 65: 10
based       20:6 21:14              62:15                        54:1655:6,7,20                          certify 72:7,12
    22:724:1528:11              benefited 49:25                  56:759:861:22                           chairman 62:25
    32:20 33:20 37:6            benefits 44:23 46:24             66:9 67:9                               challenge 47:6
    46:23 47:9,1248:7               48:20                   businesses 50:8                              changed          46:16

    48:12,1552:5                BERRY        2:   17        businessman 32:3                             changes 31: 1749:25
    53:21 56:461:12             best 20: 18 38:5 44:7       B.R40:8,1741:2,14                            Chanin           21:25 22:16
    63:13 67:5                      44:2547:361:24           44:945:12,19                                    23:19,2525:13,25
bases 38:3                      better 24:21 25:9                                -.~.._----                  26:6,23 27: 11 28:3
basic 63:8                          31:18                   _.               C      -._-_... --_._----       28:8,2229:11,14
basically 23 :20 44:2           beyond 35:18                C 2:23:24:272:2,2                                34:22,24 36:22
    56:21 63:3                  BICKS 2:23                  California 28:2                                  42:256:11 66:12
basis      23:2 28:17           bilion 31:2 48: 17          call 5:7                                         66:14
    32:1733:13 34:3             binding 64:16               cap 60:11                                    Chanin's 23:23
    36:638:19,2439:4            bit4:12 29:22 30:5          capital        29:3 51 :24                       24:2326:1829:16
    39:1941:2042:13             blood 72: 13                     52:14                                       33:2454:258:19
    48:11,1456:13               board      50:16,16 51:7    capitalization 48: 18                        Chapter 20:5 40:4
    57:2360:17                     51:10,11                 capitalized 51 : 19                              41:661:2165:6
basket 27:20 66: 17             Boeing-Hughes                52:15                                       chief 47:25
Bates-stamped                      31:14                    Cardalucci 41 : 16                           China 34:20
    36:16                       Bondholders 38:21           care47:14                                    choice 23:7
bearing 59:11                      39:20                    career 32:3                                  chooses 29: 11
began 66:20                     bonds 42:1643:3             careful 35:2252:23                           chose      26:    14 27:18
beginning 61 : 18                49:2050:1560:4             CAROLYN              3:9                         66:7
behalf31:4 43: 13               book58:2559:6,13            Carter 41:14                                 Christ   3:16 28:17
   45:746:2 57:4                borrowing 59:9              case 21 : 16 23: 17                              30:2035:21
belief 63: 13                   BOTTER 2: 16                  31:2332:11 33:11                           Cir 39:15
believe 33: 16,19               bound 4:14                       36:3 37:25 39:20                        Circuit41:1743:14

                   BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                      A VERITEXT COMPANY
Case 01-01139-AMC                    Doc 18922-6      Filed 06/13/08         Page 62 of 74

                                                                                                         3


    43:21,23 53:4                46:14,14,17,18,21     compared 28:9 54:9           67:13
  56:14,2257:18,20               51:5,1753:11,13       comparison 23: 15         conflct 45:9
circuits 43:14                   54:1955:11 58:10          52:25 54: 11          Cong 39:5
circulate 67: 18 69:5            61:4,10,11 62:4,11    compensation 64:9 .       Congress 38:25
circumstances                    62:24,2563:15             65: 11,15,23          conjunction 57:12
    38:15                        67:10 68:2,7          compete 64:8              connected 28:18
citations 5: 13               committees 43: 15        competition 50:22         connection 28: 13
cited 39: 16                     43:1669:6             competitors 35:9             31:11 32:1739:2
City 56:23                    committee   's 47:4        64:10                      47:5,751:452:21
claim 43:10 44:4                70:23                  complaint 69: 12             59:1863:15
  46:1952:22                  common 20:23 21:7          70:10,18,19             consequently 61 :23
claims 21: 11 37: 10          Communications           complete    36:14 52:7    consider 52:21
    37:1739:945:15             1:6,184:120:1           completion 49:21          considerable 33:12
    68:1269:2                  21:122:123:1            comply 59:4                  48:25 49:4 57:20
classes 20:23                  24:125:126:1            comports 46:4                58:4
classification 68:25             27:1 28:1 29:1        compromise 42:6,10       considerably 26:6
clear    24:13 40:21             30:131:132:1          concededly 59:2              31:2035:11 36:4
    59:1961:366:15               33:1 34:1 35:1        concern 22:6,13              48:1854:25
clearly 43: 10 57:2,9            36:1 37:1 38:1           25:4 30:2 34:3        consideration 35:22
    58:5 66: 14                  39:140:141:1             48:2,5,1458:21          61:2
close 29: 10 30:22               42:143:144:1          concerned 35:3,13        considered 22:6,9
  51:2                           45:146:147:1             64:7,21 66:11             40: 10 44:20 60:24
closely 63:5 64:4                48:149:1 50:1         concerns 32:24           considering 22:21
closer 29:14                     51:1 52:1 53:1           51:20                     62:7
Code 20: 10,18,19                54:1 55:1 56:1        conclude   21:   14      consolidated 39: 12
   21:337:17 38:4                57:1 58:1 59:1           31:2541:747:2           50:756:13 57:23
    39:3 43:446:5                60:1 61:1 62:1        conclusion 21 :23        conspicuous 36:25
   67:12                         63:1 64:1 65:1           46:15                 constitutes 5: 13
colleagues 27:7                  66:1 67:1 68:1        conclusions 44: 13       constrained 37:2
colleague's 24: 17               69:1 70:1 71:1        concrete 35: 14          contain 50: 18
colorable 44:4 60:22 companies 22:5,11                 conduct 32:6 41: 11      contained 59:22
come   4: 17,20 29:9   24:425:2247:17                  conducted 32:20          contemporaneous
   51:259:12           47:25 67:3                      conducting 27: 11          58:11
comfortable 27: 11   company 23: 16                      52:24                  contending 32: 12
   40:22               24:13,2535:17                  confer 57:5               contends 37:14
coming      49:    16 60:10     37:845:1949:3         confidence 29: 16         Continental    39: 15
commencement                    51:1754:457:19        confidential 1: 14        continuation 44:19
   63:24                        61:1965:19                5:1,5                 continue 20:367:14
Commerce 56:22                company's 48:7          confidentiality 4:6       continued 3:250:25
commitment 64:23                59: 11 64:965:5         4:14,18                 contract 37:938:18
committee 2: 13,21            comparable 22: 10       confirmation 5: 15           40:15,2241 :23,24
   3:175:1621:19                22:11 24:4,7,13,18        20:427:459:21            42:3,5,20
   22:3,323:634:14              25:18,21,2235:17          62:2066:1967:15       contracts 22: 16 25: 8
   37: 1438:13,22               64:7                    68:14                      25:11 34:663:21
   39: 1442: 13,25            comparables 31: 15      confirmed 20: 11             64:3,6,22
   43:945:5,646:11            compare 55:23               39:440:541:3          contrary 41 :15,20


                  BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                     A VERITEXT COMPANY
Case 01-01139-AMC                 Doc 18922-6     Filed 06/13/08                      Page 63 of 74

                                                                                                                     4

contrast 45: 18             61:8,2562:24,25            47:961:2262:12                     Dewitt's 36: 19
Coram 40:25                 63:1565:2066:5,5           62:2363:1264:19                    difference 22:23,24
core 22:737:4               67:1068:2,6                67:9                                   23:2326:328:24
Corp 39:15        ..    creditor/sharehol..        debtor's 44:6                               31:1245:21 67:2
corporate 36: 13            41:19                  debts 48:6 49:4                        differences 23:21
Corporation 40:8        criticism 29: 17               59:12                                  28:6
  40:16,2545:19         critique 53:13,14,16       December                42:16          different 30:16
correct 4:7 5: 11,13    cross 49:8 54:8            decided 40:6                               40:19
  68:22                 cross-acceleration         deciding 40:2                          diffcult 53:1061:4
corroboration 36:8          50:9 57:24             decision 38:21 39:21                   dilgence 36:22
cost 29:3 62:7          cross-defaults 57:23       declaratory 40:7                         53:2454:3
costs 62:9,12,17        current      25:4 47:15    declined 40:20                         direct 45:9 54:8
cost/benefit 62:2       currently 31 :23            55:19                                     57:5,11,13
coterminous 49:20       Custom 1:10                decrease 60: 5                         disagreed 31:5
counsel3:1251:15        customers 59:8             default40:2149:7                       disallows 37: 17
count 56:11                                            50:9                               disclosure 20:767:8
COUNTY 72:4                            D           Delaware 41 : 3                        discount 29:20
couple 26: 17           D 1:23 4:2                 delay 44: 18 61:21                         53:17,1954:14
course 22:2237:25       DANIEL          2:15       delayed 41:10                              55:3,14,15
court 1:24:3 5:2        data 50:2451:3             delevering 49: 14                      discounted 22: 10
  20:2 30:9 39:25           54:1655:6,7            denial        70:9,18                      24:2,2325:14
  40:9,11,14,14,17      date 49:20                 denied 39:16 47:5                          54:22
  40:1841:243:18        dated 24:9                 Denise 72:5,21                         discounting 54: 17
  44:9,12,15,16         DAVID        2:16          deny 62:3                              discrepancy 36:25
  45: 10,11,12,13,21    day49:1957:25              DEPARTMENT                             discretion 5:11 40:2
  56:2467:18,22            70:11 72:18                 3:9                                discretionary 43: 11
  68:9,16,2269:3,7      days 20:7                  deprives 21: 12                        discuss 20: 12
  69: 13, 18,20,23,25   DCF 23:225:3,24            Derrough 24:20                         discussed 31:433:8
  70:4,14,20,2271 :2     26:6,8,11,12,18,24            27:7                                 34:21 50:1557:21
courtroom 4: 19          29:3,21 36:748:8          Derrough's 24:14                       discussion 51:7,9,13
courts 37:1838:3,10        48:15                       32:19,2233:5                           67:10
  39:6                  dealing 40:5               deserved 35:22                         discussions 47: 16
court's 38:21 43: 11    Debentureholders           designs 35:9                               50:17
    70:8                  39:14                    desire 23: 16                          dislike 65: 11
cram    down 20:22      debt 29: 13 42:446:9       detail 21 :2242:24                     dismissal       70:10,13

  21:438:12                48:349:8,9,12,15        determent 61 :22                       dismissed 70:16,19
credible 32:23 53:10       49:19,2250:5            determinations                         dispute      38:14

credibly 34:3              57:1559:2560:14          44:12                                 distributions 38:2
creditor 39:24,24        66:17                     determine 23:5 25:2                    district 1:340:9,14
creditors 2: 13 21: 8   debtor 37:1938:2,9          41:8                                     40:17,18,23,24
  21:922:227:13            39:5,25 40:4 43: 17     determined 23 :21                         41:2,1444:10
  37:21,2438:8,11          43:1945:464:17             24:640:14                              45:11,13,2056:23
  38: 1639:9,24         debtors 1:7 2:5 20:4       determining                24:19           56:24,24 69:20
 41:1042:6,7,8             20:921:922:2            developed 35:9                         doing 59:8 66:9
 43: 15,17,2445:4,8        25:527:2436:15          developments 34: 18                   dollar       27:5 33:18
 45:17,2246:3,14           36:23 37:7,14,21        Dewitt 34:3 36:7                          34:1635:1936:19

           BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                              A VERITEXT COMPANY
Case 01-01139-AMC                    Doc 18922-6       Filed 06/13/08        Page 64 of 74

                                                                                                              5


    37:642:11,1755:2           58:1660:13                   33:18,22,2539:7      experts         21:25 22:4
    55:657:15             element 63:18,19                  43:13 44:6,8,19,24           22:24 27:5 28:3,25
dollars 23 :22 27: 1 0    elements 20: 13 27:2              44:2545:846:3,8              30:1731:13 32:12
    27:1928:4,9,15,20     emergence 61 :21.                 46:25,2561:25                33:25 35:20 '
    30:2,23 31 :3,22       65:5                         estates 5:6              expert's 36:7
    36:2,5,11,2048:14     employed 22:4                 estate's 47:3            explanation 30:3
    48:1749:12,17,23      Employee 64: 18               estimated 63: 11                 55:18
    49:24 59:3            employees 64:10,16            et 1:6                   expressly 39:20
double 56: 11                 64:25 65:8                Etkin 3:668:23,24        extended 49: 19
downstream 56:16          employs 34: 11                evaluation 24:24         extending 49:15
 58:7,13                  ends 5:23                         46:23 50:20          extension 57:25
downturn 50:22            engaged 41: 11                event 66:20              extent 66:21
    55:21                 engineers 34:10               events 56:6              e.g 39: 11
Dow-Corning 40:8          ensure 49:3                   everyone's 23:16
 40:16                    entered 69: 11,19             evidence    23:12 32:7                    F
draft 32:1533:5           enterprise 29:25                 44:23 50:1866:24      F 1 :22 72:2
DRAIN 1 :23                   37:742:1248:11            evidentiary 44: 13       faced 40:13
DRAIN'S 5:19                  50:7 58:21                exceeded 58:5            facing 48:24
driven      30:16 31:10   Enterprises 43:21             exception 56:19          fact 4:9 21:20 23:24
   33:17                  entitled      42:8,14 72:9    exchange 47:648:3            24:2537:1838:14
dropped 27:20             envelope 30: 12,25               48: 12,19,20,22,23        42:5 45:21 48:24
DS45:11                   equally 26: 10                   49:13,17,2150:13          50:5,11 58:11 60:7
Dubois 39: 12             equipment 34:7                   51:5,19,2352:11           60:1561:1263:23
due 36:22 48:6            equitable 38:12,15               52:16,18,1955:9       factor 30:19
   49:1653:2354:3             38:1939:4,8,19               58:2,3 59:6 60:2,3    factored 52:4,6,8
   59:12                      41 :9,21                    60:4                   factors 37:13 44:3
----_.-                   equities 39:23 46: 16         exclusively 27:25            53:1259:12,13
          E            equity2:215:16                      30:941:17                 62:7
E 1 :22,22 2:2,2,8 3:2  22:323:529:7                    executive 64:9           facts      41:8 57:21
  3:2,15,154:2,2        34:1437:13 38:13                exercise 43: 11              59:7
  72:2,2                39: 10 42: 13,25                exhibit 36:1555:11       failure 56:7
earlier 33:4,1637:5     43:845:646:11,13                   59:14                 fair 38:12,15,19
  50:10                 46:2051:5,17                    exhibits 20: 8 21: 18      39:4,8,1841:9,21
Eastern 40:9,17,23      53:11 54:1957:14                existence 64:5             42:961:2
  45:20                 58:10 59:25 60:12               exit 27:18               fairly 28:3 32:23
eat 62:17                     60: 1461 :3,10,11         expected 60: 10            40:24
EBITDA22:1525:7               62:4,11 70:23             expenditures 52:14       fairness 41 : 18
 26:2431:2036:6           equivalent 61 : 3             expense    25:12 36:11   faith 21:267:11
 47:13,21,2253:17         ERISA 68:8                       37:2,2444:18          far 35:2,1254:7
  54:15,1655:7,11         errors 5:12,12                   51 :2457:16               64:6,20 66: 10
  55:16                   especially 31 : 8             expenses 35:23,24        feasibilty 20: 17
effect 64:16,25           ESQ 2:7,8,8,9,9,15               36:9,18,21            feasible 33:23
  69:14,15                 2: 16,16,17,23,24            experience 24: 17        features 66: 18
effective 68:20,21           2:243:6,12                    31:11                 Federal 32:737:9
either 26:25 35:20        ESQS 2:19                     expert21:1522:6,9            38:1740:1241:5
   42:2251:1654:8         estate 27:2433:9,12              32:15,17,1833:21          42:22

              BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                 A VERITEXT COMPANY
Case 01-01139-AMC                               Doc 18922-6       Filed 06/13/08         Page 65 of 74

                                                                                                                         6


feel       36:25                      foregoing 52:13              generous 33: 19           growth 23:426:20
FELD2:12                                   55:13                        64:13                   47:20,22
FIFE 2:9                              form 32:1562:23              give 4: 12 32:8,10        guarantee 5: 19
Fifth 2:6 .                             .,64:5                          35:1937:2345:14         42:1543:347:7 -
figure             27:     18 36:12   forma 30:25                    58:16                      48:2149:1850:4
        36:14                         formal        34:23          given 23:11 25:7,10          50:1452:2056:12
fied 5:1963:1468:8                    formulation 63:14                 27:7,1629:1530:3        56:1657:13 58:2,3
        69:12                         fortunately 32:25                 35:439:1842:4           58:6,8,14
final        25:2 35:21               found 51:7                        46:9,1847:749:5      guess 69: 11 ,25
  62:19                               fourth 5:15                       52:13 55:13 59:10    GUMP2:12
finally 52:9 55:9                     Frank 57:19                       60:761:1962:14
financeable 29: 13                    frankly        23:9 28:11         64:13 65:1266:3               H
financed 29:7                              33:19                   gives 28: 16              H2:16,2439:5
financial 47:25 63:6                  fraudulent 5:17              giving 26: 18             half65:2
financing 29:8                             43:3,5,945:7,15         go    4:11 5:720:22       hand    29:11 45:10
find 20:8 36:23                            45:16,23,2452:21             21:21 36:554:6         72:18
        41:1651:2167:10                    53:855:2456:17               61:1468:20,20        happy 69:4
finding 64: 13                             57:6 58:8 62:5            69:19                   harm 46:25
findings                 21:21        FSS 25:16,2526:14            goes 38:20                HAUER             2:   12

fine 69: 16                             27:1229:13                 going4:11 5:322:6         HBE57:19
firm 58:1259:16                       FSS's25:2231:19               22:13 25:426:11          headquarters 28:2
firms 21 :16                          fulfill 64:23                 30:234:339:19               33:11 34:5,13
first      4:4,13 21:5,21             fulflled 29:9 64:24           47:2348:1456:8           Healthcare 40:25
        22:13 24:15 26:17             fulfillng 65:7                58:21 62:770:14          hearing 5:1932:18
        27:3 38:443:7                 fu1l21:10 39:9 53:8          GOLDEN       2:15 69:9       44:13,2263:25
        44:350:2051:21                     60:25                        70:5,17,21,24           66:19
        53:1554:1363:7                fungible 46:9                good 20:25 32:4           held 39:6
        64:14                         further 39:3 41 :25               61:2067:11           heretofore 64:24
five 4: 16                              43:2562:1872:12 gospel 60: 13                        hereunto 72:18
flattening 47:24                      future 32:2565:4,19 GOTSHAL 2:4                        high 29:5 35:25
flaw 54:19                            F.Supp 53:5                  government 22: 16           66:18
flawed 53:15,22                       F.2d 39: 15                       24:22                higher 26:24 31 :20
   54:12                              F2d43:2144:14                grand 67:2                   31:2142:955:2
flaws 23:6                                 56: 14,22               grant 64: 12              highest 41 :15
flow 22: 1024:2                       F3d41:1643:23                granted 43:12,17          highly 34:953:22
        25:1027:1731:10                53:457:19                        63:8                 hindsight 52:23
flows 38:5                            - -------_.       -------- granting 44:2,7             hinge21:5
focused              23:18 30:9       _.~--_.._------- G            57:13                    historic 47: 12
    41:1851:14                        G4:2                         Green 1:11 38:22          historically 54:5
focusing 52: 17                       GAAP 59:3                    Greenhil     21 :25       history 28:1238:25
folks 5:22                            gap 62:18                         22:19,2323:4,8,13       59:5
followed 53:1864:4                    gauging 23: 10                    23:2525:2527:14      Hobby      44:8

following 5:13 49:21                  general       50:22               28:6,16,2429:13      hoe 61:4
    64:14                             generally 29:2435:5  31:5 36:21 47:8                   holders 2:21 39: 11
follows 51 :21                         43:2046:847:24     Greenhill's 22:25                  holding 44: 13
forecast 60:8                           53:3               26:828:1029:21                    HON 1 :23

                           BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                              A VERI TEXT COMPANY
Case 01-01139-AMC               Doc 18922-6          Filed 06/13/08           Page 66 of 74

                                                                                                          7


Honor 68:2469:9,11          industry 55:21            involved 47: 10                     64:18,24
 69:22,2470:571:3           industry-wide 59:5             53:1663:3               kick     64:14

hopefully 69:6              inequitable 37:20         irrelevance 59:24            kind 22:6 49:2
House 1:10                  inflation-23 :.11,12      issuance 50:3 52: 19         know       67:15

Housecraft 43:22            inform 59:20              issue      35:5 37:11        knowledge 58: 13
Hughes/Boeing               informal 21: 19               40:6 42: 13 44:23
 24:10                      information 24:9              45:3 53:956:16                              L
hundred 24:2 27:9             60:21                     60:2569:15                 L3:15
 31:22                      informative 60:21         issued 5:1942:16             labeled 27:21
                            inquiry 51:16               66:23                      lack 52:755:21
            I               insolvency 57:8           issuer 21:6                     65:18
Id 44:20                      58:17                   issues 41:1945:2             language 46:467:7
ignore 61:12                                              68:25                      67:2568:4,6,17
immediate 70: 10
immediately 52: 18
                            insolvent 21 :20 37: 8
                              37:1557:2,3
                                                                       J
                                                                            ~---   large 22:23 28:3
                            instance 63:7                                             40:2
  64:15                     instances 43: 16          J3:12                        largely 22:2427:6
immune 56:17                instigation 64: 18        Jeffries      21:25 22:17      46:1761:764:17
impact 58:6 68:20           instructs 32:9                23:19,2324:3,12          law43:6 45:9 57:18
important       4:9 41:22   integral 48:22 49: 18         25:2526:10 27:7          lawyers 63:6
importantly 31 :24          integrated 49: 14             27:14,1528:5,9,23        lay 32:8
improper 37:20              Intelsat 30:11,14             29:4,17,18,20            lead 56:7
  65:21                       31:232:18                   32:1636:2242:2           leads 29:25 33:4
improperly 21 : 12          intercreditor 41: 18      jeopardizing 34:5            learning 32:23
inadequately 52:15          interest 27:23 28:21      JOHN        2:17,23          Leasing 57:19
include 36: 13 62:8           37:9,10,17,2238:7 joint5:1520:5                      leave4:15,195:17
included 31:3 32:22           38:11,16,2039:10        judge 1:24 5:19                43:262:4
    34:1736:1849:15           39:2240:3,6,11,16           32:1040:24               led 51:13
including   20:17 23:7        40:2041:6,9,20,23       judgement 37:10              left 70: 11
   36:1639:1045:25            42:20 44:25 48:25         40:7                       legal 38:7 65:14
   46:650:1456:11             49:2356:1857:15         judgment 38: 17              legally 50:4
   57:1859:263:10             59:861:2462:10              40:1241:542:22           legislative 38:25
    66:17                     66:15                   July 1:950:21 63:10          legitimate 32:2
income 59:6                 interested 72: 15         June61:13                    lenders 50:6 57:22
incorporating 43:5          interesting 50:5          JUSTICE 3:9                  length 35:250:15
increase 36:4 49:6          interests 20: 19          justifed 26: 16              letter 53: 18
increasing 36:5              27:2438:644:7            justify 44: 17               leve137:841:15
incurrence 57:3              47:4                                                  levels 60:14
indenture 45:5              interrelated 50:8,12
                                                                      K .-~-_.-    leveraged-leasing
indicates 51: 9             intervening 56:6          Kansas 56:23                    33:21
indicia 58: 17,25           introduced 21: 18         Karotkin 2:7 67: 14          Lexis 40:23 56:24
   60:15                     23:1228:1750:18           67:17,2068:3,10             liabilty 56: 13
indirect 57:11,17           Inv 39:15                  68:1969:4,10,16             life 52: 10
   58:4                     investment 21: 16           69:21 70:3,7               light 29: 19 51 :20
indirectly 28:18             23:324:525:17,18         keep 5:5 23: 17 66:2           60:8 66:4
individual 43: 16,24         26:4 29:9 30: 17
                                                      kept 63:5                    likelihood 44: 17
Industries 43:22             34:23                    key 55:10 64:10,16           LINE 5:19,19

            BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                        A VERITEXT COMP ANY
Case 01-01139-AMC                   Doc 18922-6      Filed 06/13/08           Page 67 of 74

                                                                                                               8


linkage 63 :20            35:849:1056:8               meaningful 31: 15               55:2,657:15,16
Lippe 53:5               LORI 2:9                           32:21                     59:361:1263:12
liquidation 23: 15       lot 31: 8                    means 66:869:20             mind 30:16 46:4
 .33:.1.         ... ,   low 23:9,10,1529:4           meant 58:3                   58:5
liquidity 59: 13              33:9                    measure 24: 19              minus 22:1554:15
litigation 5: 1734: 17   LOWENSTEIN 3:4                     25:2232:535:18        minutes     4:16 50:17
   35:3 40:2043:2        lower        41:13 55:12     measures 49:3 55: 10            51:7
  44:19,21,2445:7             56:3                    meet      49:5 51:2         miscellaneous 22:8
  45:23,2446:6,6         lowered 60:7                       53:11 61:25           misnomer 42:3
  47:2,361:5,7,17        LSPC 21:2030:5,6             meeting 50:21 51:2          misplaced 29: 17
  61:20,2462:5,8,11          32:234:1451:21           meets 67:11                 Missouri 56:25
little 4: 12 29:22 30:5 LSPC's 65: 10                 members 63:9                money 33:12
  42: 18 58:9 59: 1 0    lumpiness 25:9               memorialized 50: 17         months 50:15
  66:12,23                   27:17                    merely 53: 16               moot42:15
LLP2:4,12                lumpy31:9                    merit27:15                  motion 5:1642:25
loan 57:25               LUSTRI 3:12                  merits 44:21 46:24              47:462:3 70:9,18
location 34:8                                               62:17                 move 34:4
logical 55: 17                          M             met 44:2                    moving 34: 13
logically 54:23          M2:15                        method 22:10,11,12          multiple 24:21
long33:1435:3            Madison 2: 14                      22:25                     26:24 31:6
  37:1838:1046:10        main 23:2324:23              methodologies 22:5          multiplying 30: 18
  62:21                      26:3 27:21 28:6,24             25:20,23 26:5,9
looking 4:447: 17        maintain 34: 12              methodology 23:4,9                       N          --
  70:6                   maintained 34:7                    24:3,526:13 30:16     N 2:23:2,154:2
Loral1:6,173:16          major 63:18                   54:12                      NATH2:19
 4:1,6,14,1920:1         management 47: 17            Mexico 31:24 41:14          nature     25:10 27:8
 20:1521:1,1922:1            62:2463:9,21 64:3        MEYER 2:9                       35:451:1258:7
 23:1 24:1 25:1              64:6,20,2565:15          MICHAEL         3:6         nearly 54:7
 26:127:128:1                65:23,2466:7             Michigan 40:9,18,24         nebulous 59:21
 29:1 30:1,10,25         managers 65: 17              mid     25:24 28:23         necessary 48:22
 31:1,1732:133:1         MANGES 2:4                         48:1555:19                64:8,1065:25
 34:1,2135:1 36:1        manifest 39:21               middle 29: 14               need 5:427:9 64:22
 37:1 38:1 39:1          market        48:18 58:20    midpoint 22: 15             needs  4:19 27:8,16
 40:141:142:1                60:11,14,1666:14          25:13 28:8 33:24              44:3,5
 43:144:1 45:1               66:21,25                       63:11                 negative 54:1655:7
 46:1 47:1,2248:1        markets 34:1935:13           milion 22: 17,18,20            58:6 59:2,6 60:2
 49:1,1450:1 51:1         57:21                         23:2226:2,2,2,15          negotiated 63:7,24
 52:1 53:1 54:1          marriage 72: 13                27:5,9,10,12,14,15           66:16
 55:1,2056:1 57:1        material       52:14 67:4      27:1928:4,5,6,8,9         negotiation 63: 16
 57:2258:1 59:1,9        math 42:21                     28:10,19,22,23,24         negotiations 63 :4, 16
 60:1 61:1 62:1          matter 1:5,17 23:10            29:4,23,25 30:2,23        Neither 59:7
 63:1 64:1 65:1,25           34:2140:850:11             31:2233:18,25             never 58:13,14
 66:1 67:1 68:1              59:1865:1469:10            36:2,5,11,19,20              59:15
 69:1 70:1 71:1              72:9,14,16                 37:642:11,17              nevertheless 26:23
Loral's 5:5,1427:23      maturity 49: 15                48:13,13,14,17               37:11 47:16
 28:11 30:1033:9         mean 68:1670:6                 49:11,16,23,24            newl:3,11,112:6,6

           BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                              A VERITEXT COMPANY
Case 01-01139-AMC                    Doc 18922-6                  Filed 06/13/08            Page 68 of 74

                                                                                                                            9


       2:14,14,22,223:11          20:2121:567:24                       27:23 28:7,12                   64:23 65:7 68: 11
       3:11 33:334:18,19    obligated 50:4                         order4:125:4,19               participate 39:11
       35:12,13 41:14       obligation 57:4                          28:1439:767:16              particular 29: 15
       44:1045:2049:20      obligations 51: 15,25                      69:5,11,1870:7            - 31:734:1635:19
       50:1459:463:16       obtain 62:16                           ordered 70:8                        47:1951:2052:22
       63:20,2366:11        obvious 64:12                          orders      28:19 33:3        particularly 24: 10
       72:3,7               obviously                 21:5 34:8        55:22 60:9 70:2                 24:1927:1635:4
Ninth 41:16                       36:3 43:8 50:3                   original 54:25                      42:2452:1860:6,7
non-default 41 :24                60:25                            originally 28: 14                   60:12,1865:11
non-Intelsat 32:21         occupancy 29: 10                            63:1464:19                  66:13
non-Skynet 33:6            occur 63:17                             Orion 5:1842:16               parties 27:2030:8
normally 65:3              occurred 57:25                              43:347:21,21 48:3               32:13 36:2437:12
North 30: 10                      66:19                             48:8,13,2349:8,20                  45:2556:11 69:19
Northern 45:13             October                  30:8 31:17      50:2,14,2451:4,18                  72:14
Notary 72:6                  31:1932:1639:6                         51:2352:1455:8               parts 5:3
note      2:21 20:1425:5   offer 34:2547:7                          56:957:1458:22               party 51: 17
       36:2041:2456:15            48:4,12,19,20,23                 Orion's 49:4,2250:5           patent        34:17 35:2
       58:1861:564:14             49:13,17,2250:13                  50:16,2554:15,18             patents 34: 17,20
       65: 17 66:3                51:5,19,2352:11                   55:1858:2359:24                    35:5,6,7,10,11
noted 5:3 22:22                   52:16,18,1955:9                  outcome 72: 15                patience 70:25
   34:2539:2043:24                58:2,3 59:6                      outlays 25: 12                pay     48:6,25 51:14
   43:2545:21 48:23        offered 53:13 64:9                      outside 45:22                       59:11
   50:21 54:8              offers 60:2                             overall 67:3                  paying        49:2

notes 5:18,1934:22         OFFICE 3:10                             overcome 53: 11               payment 38:749:4
 63:17,21,2366:11          offcer 48:2                                 54:19                     payments 48:3
   66:16,21                offcial 2: 13,20 22:3                   overlooked 36:24              people4:5 55:20
noting 26:23 31:7                 43:14,15                         owe 69:25                      60:15
 35:1950:860:20            Ohio 45:13                              owner 32:9                    percent 23:824:2,3
notwithstanding            Okay 5:2269:7,23                        owners45:1865:19               26:7,8,11,12,18
 24:21 37:1847:20                 70:4                             --_.-                    --         38:1842:4,947:20
   61: 11                  once29:1969:18                                   P _.._._-                  47:22,23 53:16,19
November 54:9              ongoing 33:1534:6                       P 2:2,23:2,2,154:2                  54:12,13 55:3,12
Nowak 72:5,21               51:14                                  package 64:4                        55:1464:15
number 29:21 36:19         open 68: 18 70: 11                      packages 64:8                 percentage 23:7
   37:2,353:1554:17        opinion 5:732:8                         PAGE 5:19,19                   29:2
 54:20                      40:1958:11,14                          pages 36: 16                  performance 34:6
numbers 30:454:14                 59:16,17,20,22                   paid 39:946:965:23                  47:1855:5,18
------_..._._---- 60:2261:18                                       Palo 28:233:10                      58:24
           0
.._.._-------------- - opportunity 66:6                            PAMELA         3:   12        permit 32:737:22
01:223:154:2               opposed 27: 10 28: 13                   paragraph 70:8                permitted 46: 13
obfuscated 36:24            45:846:3,14                            parent 21:637:8               permitting 69: 12
objected 20:20             option 64:3,1265:7                       57:6,12                      perpetual 23:4
objection 20:25            options 63:8,22                         parent's 56:1857:3            person 32:8
   62:2065:1868:8                 64:2265:4,12                     part 4:9,10,11,12,15          persuaded 41:4
   68:11,13                oral         54:20                         5:1438:1248:22             persuasive 50:6
objections 20: 14,15       orbital              24:15,17,21           49:14,1955:8               pertain 50:19


                BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                   A VERITEXT COMPANY
Case 01-01139-AMC                        Doc 18922-6     Filed 06/13/08                          Page 69 of 74

                                                                                                                                       10


pertaining 67:8                  pressed 30:19                53:2,3,20,22,24                                                 R
PETER 2:24                       presumed 63 :20              54:4,7,10 55:15,24                           R 1:22 2:2,9 3:2,15
placed 24:25 26:6                presumptuous                 56:2,5 58:24                                  4:2 72:2
placing        22:    li 33:9        67:21 .              prolong 70:6                                     raise 51: 11
plain 40:22 46:4                 prevented 46: 19         promise 65:8                                     raised      20:14 21:18
plaintiffs 68:8                  previously 49:2          proper 22:22 56: 10                                   30:534:1535:21
plan 5:1520:5,6,11                   60:10                properly 5:1835:15                                    42:13 45:4 51:10
       20:21,24,2521:11          pre-exchange 49:8        property 32:9                                         51:21
       21:11 35:2536:23          price    24:18 63:11     proposed 20:22                                   range 28:852:7
       39:840:4,13 41:6              66:25                    30:1047:664:19                                 58:2266:19
       56:762:21 63:14           priced 66:21                 67:15                                        ranges 25:24
       64:1865:13 66:4           prices 60:7              prosecute 70:9                                   rate 37:9,1038:8,17
       67:9,11,24                pricing 60: 14           prospect 33: 14                                      38:1840:3,7,12,15
plan 's 20:22                    primarily 20: 12         prospects 59:9                                       40:15,21,2241:5,9
Please 4:3                           21:2327:2528:7       Protective 3: 16                                     41:13,24,2442:3,4
pocket 62:9                          33:10,1751:14            21:1938:2239:14                                  42:5,6,8,10,21,22
point      28:23 35:21           primary 20:21 36:6       proven 29: 12                                         66:15
    48:1556:2563:2                   50:25                provide 44:4                                     rating 50:657:22
    68:769:14                    pro 30:2565:21           provided 36:8 58:4                               RDD 1:6
pointed        23:6 31:5,16          66:10                provides 38:6                                    reach 44: 12
       58:25                     problem 52:2,4,10        provisions 49:9                                  reached 65:22
pointing 58:23                       68:15                    50:10 57:24                                  reaches 38:23
points 30:5,6 64: 11             proceedings 72:8,11      public 46: 1772:6                                real 27:24 32:24
portion 5:2361:18                process 34:24 68: 12     purchased 51 :22                                     33:6,9,12,18,22,23
positive 25:760: 11                  69:2                 purposes 25:1632:5                                   33:2461:2264:11
possibilities 35: 14             produce 44:20                59:3 66:9                                    realization 60:9
possibilty 70: 12                product 58:20            pursue           5:17 43:17                      realizing 33: 14
post 58:23                       Products 39: 12              45:1461:562:5                                really 31: 1438: 13
postpetition 37:22               professionally 47: 15    pursued 61 :9,17                                     63:266:23
   38:7,11,16,20                   47:16                    62:11                                          Realty      45:     19
   39:1040:6,10,19               profits 60:16            pursuing 46: 12,19                               reason 29:1533:8
   41 :6,22 42:20 62:9           progeny 62:3                 61:7                                         reasonable 23 :22
potential 23:6 29: 10            program 65:7             pursuit          44:25 61:20                         25:547:1251:10
   34:15,18,1935:12              project31:10                 61:23                                            55:16
   46:25                         projected 25:2           put28:14                                         reasonably 52: 12
potentially 21 : 9                   26:2027: 1228:4      p.m 1:9                                              61:2
precedent 35: 17                     31:20,21 35:15,24       - _u__ _ ___ __....._______-- --- -------_.
                                                                                                           reasons 5:621 :22
preference 26: 10                   47:2251:2454:14           _m H_,Q --- --                                   26:1761:20
preferred 20:22                      55:5,10              qualified 34:9
                                                                                                           rebuttal           64: 11
   21:7 34:8                     projection 22: 16        quantified 62:12
                                                                                                           Rec 39:5
prejudice 68: 14                    27:331:2236:21        question 43:7 46:23
                                                                                                           recall     67:22
premised 63:20                       54:21,22,25              51:1070:8                                    receive 20:2337:22
                     4:10 5:10   projections 25:4,10      quid 65:21 66: 10
prepared
                                                                                                             38:2,11,1643:24
   23:1928:1432:15                  29:1031:937:3         quite       48:9 53:9
                                                                                                           received 34:25
   47:5,859:18                      47:9,11,15,1848:7         62:13                                            65:20
president 36: 10                    51:2,2352:5,9         quo 65:21 66: 10

                     BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                        A VERITEXT COMPANY
Case 01-01139-AMC                     Doc 18922-6   Filed 06/13/08              Page 70 of 74

                                                                                                                       11


 receivership 39:22        rely 33:7                        30:2231:6,9,21             sale30:10 31:2
 receiving 21 : 1 0        remains 33:15                    47:13 55:11                       35:10
     65:13,15,17           remarks 50:19             review 5:1020:6                   salelleaseback 33:22
recognized22:5 ".              67:23 .,                     21:14,2423:20              SANDLER             3:4
     25:1930:1837:19       render 60:23                     43:1852:5                  satellte 28: 14,19
     38:3,10 43:13         rendered 58:13            reviewed 36:15                           29:1233:349:10
     56:1957:17            renders 37:14             reviewing 47: 18                         50:23 60:9
recollection 53 :25        renegotiate 66:6          revised           29:18 60:8      satelltes 30: 11
     54:2                  renegotiation 66:3               64:2066:13 69:5                   34:1151:2252:3
record 4:9,11 66:24        reorganization            revision 67:9                            55:22
     68:5,772:10             39:2341:7               right      4:4 5:2,11 20:2        satisfied 20: 9,16
recover 37:21              report 32:1533:5                 36:538:1040:10              44:3
recoveries 45: 16          reported 72:8                    42:21 69:3 70:20           SatMex 31 :23
     46:5,8                Reporter 72:6                    71:2                       saw 27:1533:23
recovery 20:24             reports 21:1547:19        rightful 21: 13                   scheme 67:2
     21:10,13 37:23        representing 46: 17       rights 68:15                      Schwartz       3:9 21:17
     38:839:11 41:25       request 5:1420:3          risks 32:4                               30:6,11,2031:12
    42:14,18,19,21           70:23                   risky 26:2229:8                          50:1962:2563:9
    44:461:1462:15         require 25: 12            RML53:4                                  64:2
reduced 48:4 49:22         required 21:2 62:2        Road 45: 18                       Schwartz's 30:24
    49:2457:1659:8,9       requirement 67: 11        ROBERT 1 :23                             31:6,2532:13
reducing 35:10             requirements 20:9         Robins 23:331:4,15                       64:21
reduction 57:15            requires       41:5              47:8,13 48:8,12            Sciences 24:16,17,21
reference 32:23 51:6       reserve 5: 11                    53:9,14,17,20              scientists 34: 10
     51:854:7              reserved 69:2             Rock39:12                         seal       4: 10 5: 19 61: 19
referred 33:3 38:24        reserves 69:15            Rodriguez 56:21                   sealed 5:23
     58:1859:1470:7        resolution 68: 12         ROSENTHAL 2: 19                   seated 4:3
refers 46:5                    69:2                  ROSSMAN 2: 16                     second25:1542:12
reflect 26: 19             resolved 67:2468:4        roughly 27:4 30:21                  43:14,21,2344:5
reflected 68: 5              68:6                           34:25 36:20                  51:2557:18,20
refused 43:2045: 13        respect 5:1820:17         row61:4                           Secondly 64: 17
regard 26:4 34:20              28:7,2549:16          RUEGGOR 2:24                      second-tier 45:3
    44:1151:11,18              53:12                 rule      23:13 38:3,12           Section        20:18 21:2
    52:2 68: 17            respectively 22:2                39:541:3,21 56:20             32:637:1638:4,5
regarding 48:2               26:3                           70:12                         38:639:241:4,17
regular 24:22              respects 53:1554:13       Rules 32:7                           43:446:4,767:12
related 28:1857:24         result 33:2 57: 12        ruling 1:17 4:10,13                      68:17
  72:13                        70:9                         4:15,175:3,14              sections 20:9,13,13
relates 4: 11              resulted 54: 17 59:7             20:3                       secured 39:9 46:9
relatively 29:5            results 53:254:10         rulings 5:9                          49:10,1266:17
relevance 59:23
relevant 24:645:5
  58:22
                             55:25
                           retain 27:964:10,24
                           retained 21: 16,25
                                                             ----  -
                                                     s 2:23:2,9,15,154:2
                                                                        S
                                                                                    - securities 59:25
                                                                                          60:12
                                                                                       Security 2:21
reliable      24:10 32:5   Retention 64: 18                 22:1442:1543:13            see33:13 39:5,11
relied32:1141:17           Revco 45: 11                     50:1652:1958:2                40:1641:13 43:20
  53:2460:18               revenue 24:23 30:19              59:2561:21                    44:8,1453:2,3

               BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                  A VERITEXT COMPANY
Case 01-01139-AMC                 Doc 18922-6        Filed 06/13/08            Page 71 of 74

                                                                                                            12


   55:2556:13 57:18        similarly    48:9 60:11            44:145:146:1         sticking 65:8
   65:4 66:22              simply 23: 15 30: 18               47:148:149:1         stipulated 57:8
seeing 62: 15              sir 67:17,2069:17                  50:1 51:1 52:1       STN 43:2144:14,15
seen 58:1467;15                70:3                           5J:l 54:1 55:1         53:1262:2
segment   22:   13 25:15   situation 46: 10                   56:1 57:1 58:1       stock21:724:18
segments 22:864:15         situations 46:15                   59:1 60:1 61:1           63:8,21 64:3,12,22
sell 28: 1234:22           skewing 26:21                      62:1 63:1 64:1           65:4,6,12
sellng 34: 12,24           Skynet30:10 63:17                  65:1 66:1 67:1       Stockholders 3: 16
Seminole 45: 19                63:21,2366:11                  68:1 69:1 70:1           21:19
senior 64:20               slight 26: 10                      71:1                 strategy    49:14

sense 31:8 54:23           slightly 26: 15            special        34:7,9        STRAUSS 2: 12
   65:3                    slots 27:2328:7,13         specific        40:13 41:8   Street 3:10
separate 42:25             small 4:9                  Specifically 39:6            strike 63: 10
seriously 34:5             softening 50:23            spike 60:3                   subject 58:8 70:22
serves 36:6                solar 52:2                 spread 28:2,21               subordination 68:25
service 29: 19             solely 33:20               spreads 64:15                subsequent 60:5
set 56:672:18              solvency    48:15 51:6     ss 72:3                      subsequently 30: 14
settlement 62: 16            51:852:21,24             SS/L22:14,2223:2             subsidiary 20:4 21:9
   66:4                      58:11,1459:15,17             23:14,17,19,22,24            56:1957:2,5,8
Seventh 56:14                60:2261:2                    24:8,13,16,20,24         substantial 25: 11,12
severe 55:21               solvent 21:737:19              25:727:1230:8,15             60:16
SG&A36:11                    38:239:5,740:4               30:21 31:3,7,8           substantially 48:4
SHAI2:8                      48:9,10,13,16                33:15,1634:4,10              63:17
shareholder 20:23             56:10                       34:1235:2436:4,7         substantive 63:4
shareholders 21 : 12       somewhat 5:424:8               36:13,2037:542:4         success 44: 17
   37:20,23 38:9             26:21,2342:3                 42:6,8 66:5              sufficient 44: 17
   42:14,1945:14,17          50:1861:6                SS/L's24:1927:8,16           suggesting 54:20
   46:2,1862:15,20         SONNENSCHEIN                27:17,24,2530:18            suggests 60:16
   65:13,16                   2:19                     31:2132:2533:10             summarize 21 :21
sharply 55:19              sorry 70:5                     35:23 36:5,8,9,10        summer 60:6
Shore 45: 18               sort 32:20 58:20           standard 38: 13              Supreme 38:21
short 60:19                   59:21 66:1067:6             43:2559:4                sure 5: 12
Shorthand 72:5             source 24:23               standing 43:9,12,17          surprising 59: 10
shortly 32:2463:24         sources 27:13 34:15            43:2544:2,745:3          survive 30: 13
shot 35:4                  Southern 1:3 44:9              45:6,1446:11,18          swing 27:5
show 66:24                 so-called 32:15                61:1062:4                Systems/Loral 1: 18
showed 48: 8, 1 0             41:2551:2558:17         start 67:23                  S.Ct 39: 13
showing 52:3 55:4          Space 1:6,17,18 4:1        state      43:5 72:3,7       S.D.N.Y 53:6
shown 43:1944:5               20:121:122:1            stated 44: 15 63:7
  55:11                       23:124:125:1            statement 20:767:8           _____________1'___'___
signed 4:6,18                 26:127:128:1            States 1:2,10 3:9,10         T 3:1572:2,2
significant 31 : 17           29:1 30:1 31:1          status 46:20                 take 54:24
  44:2251:2454:18             32:1 33:1 34:1          stay 70:15,17,23             taken 32:3 54:24
  62:13                       35:1 36:1 37:1          steady 24:22                    60:13
similar 59:23 64:8            38:1 39:140:1           stemmed 23 :24               talked 33:21 70:11
similarities 24: 15           41:142:143:1            STEPHEN 2:7                  tangentially 34: 19


           BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                              A VERITEXT COMPANY
Case 01-01139-AMC                  Doc 18922-6                Filed 06/13/08          Page 72 of 74

                                                                                                                   13


technical 65: 14                 64: 1770:25                   trying     53:11           unused 27:2328:7
technologies 35:12       times 30:22                           TSEKERIES 2:8                 28:12
technology 34: 18        timing 63:22                          turn 29:638:24             unusual    58:7

   ,35:8-                today 64:6                            turning 45:2               upwards 29: 19
tellng 60:6,12           told 54:3                             two 5:322:7,2423:3         USA43:22
Telstar 52:8,10          tonight 69:6                              23:2025:2326:7         use 35:9 41:5
ten 4:16                 TONY3:16                                  26:2527:237:13         useful35:7
tends 31: 11             total          29:22,25                   38:344:11 50:18        U.S 1:24 38:22
term      42:2 60:19     touchstone 39:21                          53:2554:1269:25          39:12,16,2567:25
terminal 23:2,525:3
terms 63:866:16
                         Townsend

                                48:1950:254:2
                                                   47:10,19    type 31 :3,10

                                                                                  U
                                                                                          -- 68:4

                                                                                                      V
  69:14                  Townsend's 54:6
test 38:6                trading 59:24 60:3,4                  ultimate 56:7              v 39:12
testifed 30: 1431: 19           60:5,14,17,17                  ultimately 37: 14          vacuum 40:7 49: 13
    34:447:11,20,25      traditional               22:4        unable 28: 12              valuation 22:7,22
    48:20,21 50:2               25:19                          uncertain 29:8                23:14,24,2524:8
    55:2059:2063:3       traditionally 56: 17                  uncertainties 25:8            25:13,16,20,24
    64:2                 transaction 22: 11                    uncertainty 49:5              26:7,9,11,14,22,24
testimony 20:7                  24:11 30:1431:14               uncontemplated                27:3 28:25 29:4,4
    21:15,1724:14               31:1535:1750:20                    56:6                      29:1830:13,15,25
    27:1732:17,18,19            51:11 57:25                    uncontroverted                31 :3,6,25 32:2,5,6
    32:2233:435:7        transactions 24:7                         35:6                      32:10,13,2033:6,9
    36:954:658:18               25:21                          underlay 51 :22               33:1634:235:18
    64:21 66:12          transcript 1:14 5:10                  underlie 35:25                36:3,737:442:12
thank 69:7,16,21                5:2472:10                      underlying 25:4               42:1847:553:9,18
 70:21,2471:2,3          transfer 5:1743:4,5                   underpinnings                 53:2161:6,13
THEODORE 2:8                    43:1045:7,15,16                    33:23                     63:11 64:13 67:3
therewith 47:8                  45:23,2452:22                  understand 65:10           valuations 23: 18,20
thing 30:7                      53:855:2556:4,18                  70:24                      25:5,1726:435:16
things 33:253:25                57:4,758:962:5                 understatement                60:19
  60:2467:2              transferred 51:4                        54:18                    value 22:12,14,17,18
think 69: 13 70: 11             55:8                           unduly 41 :10                 22:1923:2,5,16,22
thinks 32: 11            transponders 52:8                     unfulflled 65:8               24:19,24,2525:3
third     44:6 53:4      treasurer 51 : 13                     unholy      62:23 63:19       25:23 26:2227:22
thought 25:13 36:10      treat 56:12                            67:7                         28:4,16,17,20
thousand 35:2            treatment 65:12                       United 1:2,10 3:9,10          29:23,24,25 30:7
three 21:15,24 25:17     treats 29: 11                         unjustifiably 43: 19          31:2232:833:14
    25:1926:5,9,16       trends 23:1247:12                     unlikelihood 62: 14           33:1834:2,15
    27:2130:1732:12      trial 51:1853:8                       unmatured 37: 17              35:10,1937:7
  44:2                          60:25 67:23                    unreasonable 53:3             54:1856:3,4 57:11
tied 65:4                tried 51:654:19                        56:2                         57:14,1458:4,21
time 32:2435:15          trigger 49:8,11                       unsecured 2: 13 21: 8         58:25 59:24 60:3,4
  47:10,1148:11,19       troubling 50:19                          37:10,21,2438:8            60:5,1561:365:5
    52: 12,16,17,20      true          72:10                      38:10,1639:842:7        valued 28:8,22
    54:5 55:24 56:3      trustee               3:10 45:5          61:865:19               values 60: 17
    57:358:6,2262:10            68:2,4                         unsecureds 61 :15,16       valuing 22:5


              BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                 A VERITEXT COMPANY
Case 01-01139-AMC             Doc 18922-6         Filed 06/13/08    Page 73 of 74

                                                                                              14


Vanston 38:21              WESTCHESTER             $13028:23            1124(3) 39:2
    39:19                    72:4                  $13529:23            1129(a) 20:10,13,16
variances 55: 10           Western 56:24           $14328:6             1129(a)(11) 20:18
variations 55:4            we'll 69:4,6            $1533:25             1129(a)(3) 21:2 -
versus 38:2245:19          WHREOF 72: 17           $15228:22             67:12
  53:554:1055:10           Whitehall 3: 1 0        $18027:12            1129(a)(7) 20:19
  56:2357:1958:24          wiling 65:22            $190.3527:14         1129(a)(7)'s 38:5
vetted 36:21 47:15         windfall 37:23          $20222: 18           1129(b) 32:641:4
    47:16                  withdrawn 68:13         $21728:448:14        11845:12
victory 62: 17             witness 63:2 72: 17     $27522: 17           12 52:8
view 27:629:6 35:23        WOLFSON 2:24            $30034:25            1221 2:22
    36:2,8,1039:18          69:2471:3              $3957:16             123141:16
    41:10 45:15,23         word 25:9               $39226:2             139 53:4
    46:3 60:2 64:4         work 58:2063:22         $44026: 14           14039:5
    65:6,22 66:8 67:8      working 65:25           $442.326:2           1547:22
viewed 49: 13 50:7           67:25                 $470.626:2           15027:1829:24
    56: 17 57:22           worth 30:21 33:12       $528:9               15553:4
views 58:19                wouldn't 59: 17         $5028:8              15638:22
virtue       70:18         write-off 59:2          $9722:19             1613656:24


W2:17
W ACC 29:5,11
WAISMAN2:8
               W

                           x 1:4,8
                                      ---
                           written 58:2059:16
                                      x
                                                   $97061:12


                                                   03-417091:6
                                                   03-417101:6
                                                                o
                                                                        16539:25
                                                                        18745:19
                                                                        195:19
                                                                        1941 39: 13
                           Xonics 56:14                                 194638:23
wait 37:25                 XTAR27:2328:21          03-417281:7          19856:14
waiting 65:2                 29:6,16,19            05027636:16          198239:16
Walrath 40:25                                      05028236:16          198543:22
                                      Y
want        25:9 61:9                                                   199045: 13 56:22
 67:21                     Y2:8                    -----------_.-
                                                          1
                                                                        1991 40: 10
wanted 65:2466:6           year 25:2,647:24        123:8                199356:23,25
 68:7                        48:2452:1065:2        1st 39:15            199439:6
wanting 61: 17             years 23: 11 39:3       1.138:18             199545:20 57:20
wasnlt 59:1960:25          yield 66: 18            1.48 31 :2
                                                                        199653:4
waterfall          York 1:3,11,11 2:6,6 1028:19
                41 :25                                                  199841:1544:10
way 24:6 30:24      2:14,14,22,223:11 10(k)s 52:5                        56:14
    32:21 72:15     3:11 44:1045:20     10,76839:5                      199940:18
weighing 46:24      72:3,7              100041:11 3:11
weight   24:14 26:6 ----i.n             100202:22                                   2
    26:1828:1532:10 _____m____                     100222: 14           2d 53:5
    58:9,16                        101532:6
                           zero 28: 15
                                                                        205:1926:736:2,4
weighted 23:25 26:9 =~____~____~~= 10555:2                               55:6
 29:2                              1120:540:441:6                       200047:21
weighting 24:4 26:5 $10828:23 29:4                   47:2352:10 61:21   200142:1643:247:6
                           $11428:5                 65:6                 47:21,23 50:21
~;~i;:4 $11727:14                                  11th 56:22            51:353:14,21 54:9
went29:19 $1328:10                                 11148:13              54:10,1555:7,12

                BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                         A VERITEXT COMP ANY
Case 01-01139-AMC            Doc 18922-6             Filed 06/13/08   Page 74 of 74

                                                                                      15


 55:1658:23              380 53:5                     726(a)(5) 38:640:11
200240:2441:17           3949:24                       41:18
  43:23 47:23 49:6                                    7672:6
  49: 17 54: 10 55:12                4                77943:2144:14
 55:1959:560:6,8         439:6
200330:831:17,19         4026:11,12 48:17                        8
 32:1653:654:11          41141:14                     83745:20
200440:23 41:3           4336:20                      84156:14
 63:10                   4555:12                      85145:20
20051:961:6,13,13        450 30:22                    89439:16
  72:19                  45939:16                     89556:21
200825:2                 46845:12
                                                                 9
215:1936:11,19           47545: 12
22041 :14                4857:19            90143:21
22344:9                                     90443:21
                                   5        90544:14
22957:14
23023:2249:23            55:1933:18         90644:20
23740:8                  5027:10            92 53:4
2436:15                  50030:2249:11 59:3 928145:18
24440:16                 502(b)(2) 37:16    97030:237:642:11
24953:5                  51039:13 68:17       42:17
251:923:11 64:15         52739:13
26439:15                 53048:16
2747:20                  53549:16
27544:9                  54443:446:7
2798940:23               55046:5
28244:9                  5902:14
285 41 : 16
                                     6
~----
323:8
              3          642:4,9
                         6026:8,18
                         61 39: 13
3:001:9
3024:3 26: 11,11         62357: 19

  61:13                  63857:19
                         64 43 :23
31043:23
31239:12                 67539:13
31541:2                  67840:17
32141:2                  67939:15
32848:13                 68539: 13

32938:22 39:25
                                     7- ._--------
333:10 53:16,19
                         7027:5
  54:12,13 55:3,12
                         70063:11
  55:14
                         7143:23
34641:2
                         72556:22
35753:5
                         72638:4
3840:9

              BENJAMIN REPORTING (212)374-1138 DOYLE REPORTING (212)867-8220
                                 A VERITEXT COMPANY
